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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK Wa egng

UNIVERSITY OF PITTSBURGH,

Plaintiff

(Litigation pending in U.S. District Court,
Central District of California — Case No.
CV04-9014-CBM (AJ Wx))

NOTICE OF MOTION... __ OLD '
~] LED

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MARC IT. HEDRICK, PROSPER
BENHAIM, HERMANN PETER
LORENZ, and MIN ZHU

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US. DISTRICT COURTEDNY

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PLEASE TAKE NOTICE THAT Plaintill University of Pittsburgh by its
altorneys Drinker Biddle and Reath LLF, upon the annexed Affidavit of George J. Awad
and Memorandum of Law in Support of Motion to Compel, on a date and on a time to be
set by the Court will move this Court for an Order pursuant to Rules 26, 37 and 45 of the
Federal Rules of Civil Procedure, at the Courthouse, 225 Cadman Plaza East, Brocklyn,

NY 11201 to compel responses to its subpoena on third-parties Olympus Corporation and

Olympus America Inc.

Dated: New York, New York

April 12, 2006

Respectfully submitted,
By: (pee Lihue

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Mare H. Hedrick and Third Parties Cytori
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Olympus-Cytori, Inc.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNIVERSITY OF PITTSBURGH, CASE NO;

(Litigation pending in U.S. District Court,
Central District of California — Case No.
CV04-9014-CBM (AJ Wx})

Plaintiff

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AFFIDAVIT OF GEORGE J. AWAD
IN SUPPORT OF MOTION TO
COMPEL

BENHAIM, HERMANN PETER
LORENZ, and MIN ZHU

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MARC H. HEDRICK, PROSPER =)
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Defendants, )

)

STATE OF PENNSYLVANIA )
COUNTY OF PHILADELPHIA *

GEORGE J. AWAD, bemg duly sworn, deposes and says:

1. Tam a member of the Pennsylvania bar and an associate in the law firm of
Drinker Biddte & Reath LLP, attorneys for Plaintiff University of Piltsburgh (“UPITT”).
I represent UPITT in the above-captioned matter and am admitted pra Aac vice. I make
this affidavit in support of UPITT’s motion to compel responses to its subpoena on thitd-
parties Olympus Corporation and Olympus America Inc, Copies of UPITT’s subpoena
duces tecum and subpoena for oral testimony are annexed hereto as Exhibit A.

2. This suit was filed in the Central District of California and arose over a
dispute regarding inventorship of US Patent 6,777,231 (°231 Patent”), a copy of which
ig annexed hereto as Exhibit B.

3, UPITT asserts thal Defendants Marc H. Hedrick, Hermann Peter Lorenz,

Prosper Benhaim and Min Zhu are not the proper inventors of the °231 Patent. The

Defendants have counter-clained against the remaining named inventors - Adam Katz,

Ramon Lull and William Futrctl — claiming that they are not proper Inventors of the ‘231
Patent.

4, Defendants assigned their rights to the °231 Patent to the Regents of the
University of California (UC), which in turn licensed the patent to Cytori.

5, Olympus Corporation (“Olympus Corp.”}, formed the joint venture

Olympus-Cytor! Inc. (“Olympus-Cytori”) with Cylon Therapeutics, Inc. (“Cytori”),

&. Cytori, whose President is Defendant Marc Hedrick, has since licensed the .

*231 Patent to Olympus-Cytori as part of a $55 million transaction with Olympus Carp.
7. To the best of my knowledge and belief Olympus America Inc. is a
division of the Olympus Corp. through which Olympus Corp. does business in the United

States.

%. On February $, 2006, LIPITT served both a subpocna for oral testimony
and a subpocna duces tecum directed to Olympus Corp. on Olympus America Inc., at 2
Corporate Center Drive, Melville, NY 11747-3157 which is in the Eastern District of
New York. A copy of Olympus Corp.'s entity status report is annexed hereto as Exhibit
Cc.

9, On February 22, 2006, Olympus Corp. served objections to the subpoenas
(Exh. D4.

10. Lhiring a meet and confer regarding various discovery disputes on March
13, 2006 between UPITT, Defendants and various third partics, including Cytori and

Olympus-Cytori, UPITT agreed not to pursue discovery against Olympus until after

Cytori produced documents under UPITT’s subpoena. A copy of the March 14, 2006

letter from Ms. Doyle to Mr. Olson summarizing the meet and confer is annexed hereto
as Exhibit E.

il.  Cytori’s preduction of documents was deficient and Olympus-Cytori and
Olympus Corp. have failed to produce any documents.

12. Counsel for plaintiff University of Pittsburgh has made a
reasonable effort to resolve the instant discovery dispute with the opposing attorncys on
this motion. Those efforts have been unsuccessful as Olympus Corp. has failed to
provide the requested discovery, A copy of the April 3, 2006 letter from Mr. DelMaster
to Mr. Olson summurizing the meet and confer regarding the defictent production is
annexed hereto as Exhibit F.

12. Adetailed analysis of Olympus’s failure to respond to the subpoena is set
forth in the accompanying Mcmorandum of Law of Plaintiff in Support of its Motion to
Compel Respanses to its Subpoena Duces Tecum on Third Parties Olympus Corporation
and Olympus America Inc. The following exhibits support that analysis:

a. Annexed hereto as Exhibit G is a copy of excerpts from the
Calhoun Deposition Transcript.

b. Annexed hercto as Exhibit H is a copy of the Protective Order.

c. Annexed hereto as Exhibit Lis a copy of excerpts from the Shih

Rough Deposition Transcript.

Sworn to before me this

11" day of April 2006

Lipset Met

Notary Public

NOTARIALSEAL
GLYNNIS Y HARP Notary Pirbite
City of Philadetphia, Phila Count

My Commissten Expires June 13, 2ho8

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a2) United States Patent
Katz et al

AA
USW0677723181

(10) Patent No.: US 6,777,231 BL

G4 ADMPOSE-DERTYED STEM CELLS AND
LATTICES

(75) Inventors; Adam J. Katz, Charlotresville, VA
{US}, Ramon Liwll, Mallorca (FS);
Willium J. Putra, Pillsburch, BA
{US}, More H. Hedrick, Encing, CA
{US}, Prosper Benbuin, Los Angeles,
CA (US); Hermann Peter Lorenz, Los
Angeles, CA (US); Min £hu, Los
Angeles, CA (U8)

(73) Assignee: The Regents of the Unbversity of
Californin, Qaklaud, CA (US)

f*} Notices: Subject to any disclaimer, the tera: of this
patent is extentted or adjusted under 35
U.S.C, 154(b) by 0 days.

(21) Appl. No.: 09/936,065
(22) POY liled: Mar. 10, 200K}
(86) PCT Na.: PCT/USOO0G232

$371 (0X1),
(2), (4) Date: Sep. 10, 2001

(87) PCT Pub. No: WOOO'S3795
PCT Pub. Dale: Sep. 14, 2000

Related (.8, Applicatton Qata
(G0) Provisional application Mo. 60/123,711, Hed oo Mar 1,
1999, and provisional application We. To2,40% filed on

Gel, 29, 1279,
CSL) MBN ee ccs tesseteneseries
(32) WB Ch oo
(38) Feld of Search wees

.. C26 $00: C126 5/08
sesssie 435/328; 435/366
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(45) Date of Patent: Aug, 17, 2004
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Primary Exuminer—Reny Yucel
Assishoy Exautiter—Williim Sandals
(74) Attorney, Agedd, or bivea—Mandel & Addano

(57) ABSTRACT

The present invention provides acdipose-cerived stem cella
and lattices, In one aspect, the present invention provides 4
lipo-derived stem cell substantially free of adipacyles and
red blond cells and clonal populations of cunnective tissue
stem colls, The cells cao be employed, alone or within
biclogically-compalible compusilions, ty generate dilTeren-
tiated lissucs and structures, both in vive and m= vitrn.
Additionally, the cells can be expanded and cultured to
produce hormones and ta provide conditioned culluré media
for supporting be goowth anc expansion of other cell
FRipulations. In another uspect, the present invention pro-
vides a lipo-dertved lattice substantially devoid of cells,
which includes extracellular matrix material Jrom adipose
tissue. The lattice can be used as a substrate to facitilate the
growih and diTerenttviion of cells, whedher in vive or in
vitro, 1oto anlagen ar even malure tissues or structures.

10 Claims, No Drawings

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ADIPOSE-DERIVED 8TEM CELLS AND
LATTICES

This application is ai: 371 of Application Qne:: BCTY
USOC 06232 Filing Dales: Mar. 10, 2000 Which is a:NOn
PROV. OF PROVISIONAL Application Twa: 6023,711
Filing Date:: Mar. 10, 1999 And which is a: MON PROV,
OF PROVISIONAL Application ‘Thece:: 00/162,462 Filing
Thate:: Choi, 29, 1999

BACKGROUND OF THE INVENTION

Tn recent years, the Identification of meacuchymal stem
cells, chiefiy oblaincd from bone mamow, bas led lo
aUVERoes in Gasue repcowrh and differentiation, Such colls
are pluripotent cells found im bone marrow aml periosteum,
and they are capable of differentiating inte various mescu-
chymal of connective tissues, Por example, such bone-
marrow derived salem cells can be induced to develop inte
TOyOcyIEs IPAM Exposure 19 agents such a4 35-azacyadine
CWakitani ot al., Muscle Nerve, 18(12}, 1417-26 (1995%). Ie
has been suppested iat sued cells ate useful for repair of
tissues such ax gactilage, fat, and bone face, 2, OLS, Pat,
Nos. 5,908,784, 5,906,034, 3,827,740, 3,827,735), and that
they alao have applications through acactie modification
(see, e.g. U.S, Pat. Mo. 5,591,625), While tbe identification
of such calls bas led to advances in lissue rearowth and
tlilerentiation, die use oF such cells is hampered by several
technical hurdles. One drawback to the use of such eclls is
thal they are very rare (representing as few as 1/2,000,000
cells}, making any process for obtaining and isolating them
dificull and costly, OF course, bone matow harvesd is
ualversally painful to the donor Moreover, such o¢lls are
difficult to culture without induciog differentiation, woless
specifically screened sera lots are used, addiog further cost
aud labor to the use of such stem cells, Thus, ibere is a need
for a nore readily available source for pluripotent stem cells,
particularly cells that can be cultured withawd the zequire-
ment for cosily prescreening of culture materials.

Other advances im tissue enpincertog Lave shown that
celle can be grown jo speeially-defined cultures to produce
thyeeimensional stuciures. Spacial defiuition typically is
achieved by waing various acellular lattices or matrices ta
Support and guide cell arowih and differentiation. While this
technique is alill in its infaney, experirients in animal
motgls have dememslrated that it is possibie to cmploy
various accllular lattice materials te regenerate whole tissues
(sce, on, Probsl et al PE! fit, $5(3), 362—7 (20003). A
suitable lattice material is scereled extracellujar matrix
tdierial isolated fram tumor cell lines fee, Rovellrett-
Holm-Swaom tumor secretet mutrixn—‘matripell). This
tatetiat contains type IV collagen and prowlh faetors, and
provides an excellent substrate for call growih (sce, c.g.,
Vukicovie cf al, Lay Cel? Res, 202(8), 1-8 (1992)).
However, as this material also faciitates the malignant
transformation of some eclls (see, eg, Fridman, et al, fai
f. Cancer 51(5), 740-44 (1992)), it is not suitable for
clinical application. While other artificial lattices have beeo
developed, these gan prove (oxic eilbec to cells or to patients
when asd in vive, Accordingly, there remains a oeed for a
latiiga material suitable for use as 4 substrate in culturing aud
STOWLOg populations of cols,

BRIEF SUMMARY OF THE INVENTION

The preset invention provides adipase-derved stem cells
and latlices, In one aspect, the present invention provides a
lipa-derived stem cell substantially free of adipocytes and

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red blood cells and clonal populations of connective tissue
stem oclls, The cella can be employed, alone or within
biclovically-compatible compositions, to generate differcn-
tiated tissucs and stoucturcs, both in vivo aod in vitro.
Additionally, ii: cellé gan be expanded and cultered to
produce honmones and ta provide conditioned culture media
for supporting the growth, and expansion al ober cell
populstions. Tn another aspeci, the present inventign pro-
vides a lipo-dertved lattice substantially devoid of cells,
wiuch imcludes extracellular matrix mutecial From adipose
Lissue, The lattices can be weed a8 a substrate to Facilitate che
growlh and differentiation af cells, whether in vive or ia
Vitro, into anlagen or eved mature asues Or sInLelures.

Considering how plepliful adipase tissne is, the invenlive
cells and lattice represent a ready source af plucipolent stem
cells, Woceuwer, ecaise the cells canbe passaged] in cullure
in an Undiflerenoated state under culture candilians nol
Tequicing presererned lots of seri, the inventive cells can
be mainiuined with considerably less expense than other
iyqes of slem cells, These and other advantages of the
Prestnd invention, a3 well as additional inventive Peytures,
will be appareot from the accompanying drawiogs ond aa ihe
following detailed deseriplicns.

DETAILED DESCHIPTION OF ‘THE
INVENTION

One aspecet of the invention perlaing to a lipo-dsrtved stom
cell. Preferably, the stero cell is substantially freo of ceber
cell types {ec adipocytes, red blood cells, other stromal
cells, cto.) aod extracellular matrix material more
preferably, the stem orll is completely free of such oflier cole
types andl maleix material, Preferably, the inventive eel is
derived fram the adipose tisuc of a primate, aod more
preferably a higher primate fc.2, a baboou or ape} Typically,
ihe inventive cell well be derived from human adipose tissue,
using methods such as deseribedl herein.

While the inventive cell can be any dype of stem ccd, for
wee in tissue engineering, desirably the cell is of mesodermal
onein. Typically such cells, wheo isolated, colain bao or
mare mesodermal oc meaenchymat developmenta) pheng-
types (is, they art pluripotent). In particular, such cells
generally have the capacity (0 develop inle mesodermal
Tissues, such as mature adipose tissue, bone, various tissues
of the heart (c.2., pericardinm, epicardium, cpimyocardium,
myocardium, peccantium, valve tissuc, sted, dermal con:
nective tissuc, bemangial tissucs (c.g, corpuscles,
codocardium, vascular epithelium, ected, miuaele tissuca
Giocluding skeletal muscles, cardiac muscles, smooth
muscles, ote), urcgenital tissues (t.2., kidoey, proncphees,
mela- aod meso-nephde ducis, melancphric diverticulum,
ureters, Dodal pelvis, collecting tubules, epithelium of the
female reproductive structures (particularly the oviduets,
titers, aod vaginay}, pleural and peritoneal tissues, viscera,
mexklermal glandular issues fea. adrenal corlex tissues},
ami stromal tissues fe, bone marrow). OF cours, inps-
omech a5 the cell can rejain potential io develop inta maluce
cells, tt alse can realite ilé developmental phenotypic polen-
tial by differen Laling into an appropriate procurmsar coll (t.2-,
a pradipacvie, a premyacyic, a prcosteacyie, ctc.), Also,
depending an the culture coneitiang, the cella can alsa
exhibil developmenial pheoolypes euch as embryonic, fetal,
hemulipuclic, WEErORerLe, OF Netealgagenic developrental
phenotypes, In this sense, the inventive coll can have Go oF
more developmental phenotypes such a5 adipogenic,
chondrogenic, cardiogenic, dermatogenic, bematopoctic,
hemangiogsnic, myogenic, nephrogenic, oturagenic,
ncuralzigzenic, uropenitagenic, osteogenic, pericandiogenic,

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Perilpneipenie, plewrogenit, splanchogenic, and stromal
developmental phenogypes. While such cells can retain two
or more of these developmental phoaotypes, preferably, such
etHs lave thice or mom such developmental phenotypes
fea, Gour ar more mesodermal or mesenchymal develap-
rocoial phenotypes), and some types of inventive stem cells
have a poleotial [0 acquee aoy mescderual pheonolppe
throw dhe process of differentiation.

The inventive stem cell can be obtained fram adipose
hasue by any suitable medhed. A first step in any such
mitlhod requirca the isolation of adipose dissuc fram the
source animal, The acim! can be alive or dead, so lone as
adipose stromal cells within the anioal are visble, Typically,
human adipose stromal cells are obtained from living
donors, using well-recognized protocols such as surgical or
suction lipectomy, Indeed, a5 liposuetion procedures are so
eanwioen, liposuction efflucol is a particularly preferred
sources from which the inventive cells can be derived,

However derived, the adipose tissue is processed ta
separate stem celts from the remainder of ihe material, tn
oue protecel, the adipose tissue is washed with
physiologically-compatible saline sohition (¢.2., phosphate
buffered saline (PES)) and then vigorously agilated and let
to settle, a sep that comoves Jonsc mater (c-2., damaged
lissue, blow), erylhraeyles, ete.) fram lhe adipose 1sawe.
Thus, the washing and setlling sleps generally are repeated
until the supemalaal ig relatively clear of dedvis.

‘The remuatniog colls cencrally will be present in lumps of
various size, aod ihe protocol procecds using steps gauged
to degrade the gross sicture while minimizing damage to
the cells themselves, One ocihod of achicviog this cod is to
ireat (he washed lumps of cells wilh an eoxyme thal weakens
or destroys bonds betycen cells (o.g,, collagenase, dispase,
inypsin, ete). The amauel and duration of such enzymatic
treatment will vary, depending ou the condilions croployed,
hut the use of ach enzymes ls generally known in the art.
Aliermmaitively or in conjunction with such cnzymatic
treatment, the lumps of cells can be degraded using other
trcalments, such as mechanical agitation, sonic energy, ther-
al cocrmy, cle, If degradation is accomplished by enzy-
malic medhods, it is desirable lo meulralige fhe enxyme
following a suitable period, to minimize deleteriqus effects
on the ells.

‘The depracdation sicp typically prodvocs a slurry or aus-
pension of apercgated cells (generally liposomes) and a Mluid
fraction containing Bensrally Eres stromal cells (eg, ced
blood cells, smooth musele eclls, endothelial cells, fibroblast
eells, and stem cells), “Tho peak slage in the separatian
princess 16 to separate the agecepated cells tram the stromal
eels. This can be accomplished by senlnfugation, which
forces the stromat cells into a pellet covered by supernatant,
The supermalaot then can be discarded and the pellet sus-
pended in a physiologically-compatible Quid. Moreover, the
suspended cells typically include erythrocytes, and in mast
protocols il is desirable to fyse these. Methods far selectively
lysiag ceythrocytes arc known in tbe art, and aoy ailable
pooiaoel can bo employed ft.z., ineubaliod in a hyper- or
hypotonic medium), OF course, if the erylhrocyles are lysed,
the remaining cls should then be separated from the lysate,
for example by filtration oc centrifugation. Of course,
Tepardless of whether the erythrocytes ace lysed, the sus-
pended uells can be washed, recentrifuged, and ccsuspended
ane oF more successive tiotes to achieve givaler purity.
Alteratively, the cclls can be separated using a cell sorter or
an the basis of cell size aod granularity, stem cells being
réelalively sonal and agcanular, Expression of telomerase can,
abe serve us a stem cell-specific marker, They can also be

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separaled immunchistacherucally, for example, by panning
or usiug niapuetic beads, Auvy of the sieps and procedures for
isolating the inventive cells can be performed manually, if
desiccd, Alteralively, the process of isolating such cells can
be facilitated thraugh a suitable device, many of whisk are
known in the art (sec, ¢.2., US. Par. No. 5,784,207),

Tollowing the final isolation and resuspension, he cells
eno be cullured aml, if desired, assayed for owmber aod
viability 09 assess the yickd, Desirably the wells can be
culiured without differcotiation using standard cell culture
media (2, DMEM, typically supplemented with 35-15%
(oe, LOS) semor (te. fetal bovine scnun, lore scom,
the), Preferably, lhe celle can be pasistecd at lead five times
in such medium without differentiating, while still retaining
their developmental phenatype, aml more preferably, ths
eells cen be passaged af least LO times (e.c., al least 15 tintes
ar even at least 20 times) without losing developorental
phenalype. Thos, culturing the cells of the present invention
Without indyeing differentiation can be aseormplished with-
Wu specially serconed lots of serum, as if generally the ease
for mesenchymal seca cells (e.g, derived fram marrow),
Methods for measuciog viability and yield are keen i the
ad (e.g., trypan blue exclusion),

Following isclation, the stem cells are further separated
by phenotypic ientillealion, 10 deotily those cells dat have
twa ar more of the aforementioned developmental phena-
types, Typically, ihe stromal cells are plated at a desired
density such as between about 100 cellatom* tn about
100,000 cellsfer® Qsuch 2s about $00 celtsgm? lp about
50,000 cellsjom* or, nore parkcuarly, between about 1,000
eellsfam? to about 20,000 cellsfom*). I plated at lower
densities fe.c., about 300 cellsécm*), the cells can be more
easily Clonally janlated. For example, after a lew days, cells
plated at such densities will prodiferate inte a population.

Sueh cells and populations cao be clonally expanded, if
desired, using a suitable method for cloning cell populations.
For example, a proliferated population of cells can be
physically picked and seeded into a separate plate (or the
well of a ulti-well plate), Alternatively, the oolls can be
subeloned conte a miulti-well plate at a afatistical catia for
facilitating pRacing # sinyle cell into each well few. from
abou 0.1 to about 1 cellwell or even about 0.23 to abou 5
cella well, such as 0.5 cellafvell}, Of course, che cells can be
cloned by plating them at low density (0.g, in a potei-dish or
other suitable substrate) and isolating them from other calls
using devices such as 4 cloning rings, Alternatively, where
att irradiation source is available, clones can be obtained by
penuitling the cel Io grew info a monclayer and then
shicldiog one and incadiatiog the rest of cells within the
monclayer, ‘The surviving cell then will grow into a clanal
population, While production of a clonal population can be
expaoded in any suitable culture medium, a preferred culture
condition far cloning stem cells (such as the inventive stem
cells or other stem cells} is about $4 F,medin+20% sennn
(preferably fetal bovine serum} and about 44 standard
medium thal haw beeo conditioned with stromal cells fe.g.,
cells from the simmoal vascular fraciion of liposuction
aspirate}, the relative proportions being determined
volumetnically).

In any event, whedber clonal of nol, the iselated calls can
be culluted to a suitable point wheo their developmental
Phenolype can be aasessed, As mentiuned, the inventive
tells have al least two of the aforementioned developmental
Phenotypes, Thus, ane of moro otlls drawa from 4 piven,
Glone can be treated te ascerlain whelher it possesses such
developmental potentials, Que type af treatment 16 te collie
ihe inventive sells in culiore cvedia that fas been eondi-

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tioned by exposure 10 maluce oells (pr prewursors thereok) of
the respective bype to be differcotiated (c.t,, media condi-
tioned by exposure to myagyles gan induge myogenic
differentiation, media condibowed by exposure Lo leat
valve eolls can indo: dillerenticlion inte heart valve tise,
ele), OF course, defined media Far inducing differentiation
aley can he employed, For example, adipogenic develop-
Thental phenaye cin be wasesed by exposing the vel) tow
medium thal facilitates adipogenesis, sg. conlaioing a
alucacazticoid fc.g., isobutyl-methylxauthioe,
dexamucthasone, hydrocortisone, cortisone, cle), insulin, a
can pow] which elevates intracellular levels of cAMP (e.g.
dibutyy cAMP, $-CPTcAMP (8-(4)chlocophenyilhic)-
adenosine 3) Steyclic monophosphate: §-brome-cAMP;
thodtangy]-cAMP, forskolin ete.) and/or a compound which
inhibits degradation of cAMP (e.p., a phosphodiesterase
inhibitor such as methyl ispbolylxanthine, leophylline,
calleine, indumelbecin, und Ube like}. Thus, exposure of the
stem cells ig belween about 1 aif and about 10 aM ingolin
in combination with above 10°? M te about 10°* M to (eg.
about 1 M1} dexamethasone tan induce adipagenic ditfer-
entiation. Such a medium als can include other agenia, such
as indamethicin fe.g., about 100 aM io about 200 we, if
desired, and preferably the medium is scrum free, Osteo-
genic developmental pheoolype can be assessed by cxposing
fhe cells to between about 10°? M and about 10-7 M
dexamedbasone fe.2., aboul 1 wht) in contbination with
about 10 wht to about 30 ah ascorbate-2-phosphate and
between aboul 10 nM and about 50 of f-elyccrophosphate,
and ihe medium alse can iochide serum fe.g., bovine semat,
horse semi, ete.) Myogenic diffcrentiation cao be induced
by exposing the cells to bebween about 10 oh and aberat 100
aM hyd cocoriisons, profcrably io a senum-rich medium (c-g.,
conlaining between about 10% and about 209 seruro either
bovine, heres, or a mixture thereoty). Chomdrogenie ditfer-
enliation can be intuesd by exposing the cells ty bebyeen
about 1 phd to aboud 10 ht insulio ond between about 1 all
(a about 10 vhf transferrin, bobapen ebout 1 ng/ml] and 10
ngiml] teangfarning prawth factor (TOT) B41, aad betveen
about 100M and abow! 50 oM aseorbate-2-phasphale GO
ami}, For chondrogenic differentiation, preferably the cells
are cultured in high deosity (c¢., af about several million
fells ral or using muicromass culture techniques}, and also in
the presenoe of low amoudts of scrum (c.2., from about 1%
to about 5%). The cells also can be induced to assume a
developmentally more immature phenotype (e.2., 2 fetal or
embryaine phenotype}. Such induction iz achieved upon
exposure af the inventive cell to condiions that minnie those
within feluscs and cobryos, Por exanipl, the ioventive cells
ar populations can be co-cultured with cells isolated from
feluses or embryos, or fn lhe presenes of Fetal serum. Along
these lines, the cells van De indueed tr dilfcruntiate into any
of (he aforementionsd mesodermal linsages by co-culluying
them wilh mature cells of the respective type, or precursors
theteat, Thus, for example, myogenic differentiation cam be
induced by eulturieg the inventive cells with myocyles or
Precursors, arid simular results can be achieved with respect
to the other tissue tye mentioned herein, Ober meibods of
inducing diflerentiation are kacwa ia the act, aad many of
them can be employed, ag appropriate,

Adter callucing the ceils in the dillerentialing-indocing
methine for a suitable dime (e.g, sevecul days toa week or
more), the cells can be assayed to determine whether, in fact,
they have differentiated 10 acquire physical qualitios of a
given type of cell, One measurementof differentation persc
is telomere length, undifferentiated sic cells having longer
telomeres than differentiated cells, thus the colls can be

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assayed for ihe level of telomerase activity. Alternatively,
LAN Aor proteios can be extracted from ihe cells and assayed
(via Norlbero hybridization, tPCR, Westem blot analysis,
cle.) for tbe presenes Of markers indicative of the desired
phenotype, GF course, the cells can be assayed immunchis- ,
tochemically or slamed, wsing ssuc-spedific stains, Thus,
for cuample, to assess adipogenic differentiation, the cells
canbe stained with fat-specific stains (c.g., ail red 0, safari
red, Sudan black, ¢c.) or probed to assess the prosenee of
atiposc-mlated factors (eg. type TY collagen, PPAR,
adipsin, hpoprotein Dpass, ele), Similarly, ostogencsis cao
be assessed by staining the cells with bous-spoctfic stains
(t.g., alkaline phosphalase, von Kosa, ete) or probed for
the preacnes of bone-specific markers (ec, osteccalcia,
osleonechn, ostopantin, type [ collagen, bone morphogenic
proteins, cbfs, cle), Myogensis can be asecesed by identi-
fyug classical morphologic changes (ec, polyoucleated
cells, syneitia formation, clc.), or asscesed biochemically for
the proscnee of muscle-specific factors (e.g, nyo D, myosin
heavy hain, NCAM, cic), Chondrogenesis can be deter
mined by slainiog the cells using cartallge-spccific stains
fe.g, aleian blue) or probing ihe cetls for the expression!
production af carilage-specilie molecules (e.£., sulfated
glyxidaminoglycans and proteoglycans (e.g., keraiin,
chondraitin, etc.) in the medhan, ype IW eallagen, ste,
Other methods of assessing developmental phenotype arc
kaon in the awl, and any of them is appropriate. For
example, the cells can be sorted by sive aod granularity,
Also, the eclls can be used to gencrate monoclonal
antibodies, which cao thea be employed to asseng whether
they preferentially bind to a given Gell type, Correlation of
antigenicity can confinn that the stem cell has ciflerentiated
along a given developmental pathway,

While the call can be solitary and isolated from olher
cells, preferably it is withio a population af cells, and the
invention provides a defined population incliding the inven-
tive cell In some evbodiments, the population is heterape-
neous, Thus, for exuuple, die population ean include sup-
port colts for supplying factors to the inveniive cells, OF
come, Che inventive stem cells can themselves serve as
supporl cells for culturing other types of calls (such as other
types of stem cells, e.g, a8 neural stem cells (NSC), hemate-
posts atem ells (HPC, parlicularly CD34t stem cells},
embryonic stem cells (ESC and mixtures thereat, aod the
population cao include such cells. In other embodiorents, the
population is substantially homogeneous, consisting esscn-
tially of the inventive lipo-denived stem cells,

As the inventive eelis can be cloned, a substantially
hamogensaw population containing them can te clonal.
Indeed, the invention alsa pertains to any defined clonal cell
population consisting essentially af mesodermal ate oclis,
coonectve lissue ster ocll, ar mixtures theregl In this
éemibadimedt, the cells cia be lipoderived or derived from
other mcecdenual or conacclive cell tissues fep., lone
Tira, rusele, ete.) using methods knwo in dhe art. Alier
the isolavion, the cells can be expanded clooally a3 described
herein,

The inventive cells (and cell populations) can be
cooployed for a variety of purposes. As nocnlioned, the cells
nan support the growth and expanscon of oiher cell lypes,
and the invention perlains to methads for accomplishing
tiis. In one aspecd, he invention pertains to a rellnad of
conditioning culture medium using the inventive ster cells
and io conditioned malin produced by such a method, The
medium becoucs conditionsd npon cxposiug a desiced
culline medium to the cells woder conditions sufficient for
the cells to condition it, Troieally, the medio is nscd to

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support ihe growth of ihe inventive cells, which sceretc
hones, cell matrix matedal, and other factors into the
medium, After aauitable period (2.g., ane or a few days), the
cullurc mocdium containing the secreted factors can be
separated from the cells and stored far future use, Of course,
the inventive ceils and populahions can be re-used sueces-
sively to condition niedium, as desired, In other applications
(eg. for co-culturing the inveotive cells with other cell
types), the cells con remain within the conditioned medium,
Thus, the invention provides a onndihaned medium obtained
using this melhod, which sither can contain the inventive
eclis or be substantially Free of the ioventive oolls, as
desicea,

The conditia¢ned medium can be used to support the
prowih and expansiog of desired cell Gypes, and ihe jnvea-
than provides a methad of culturing cells (parlicularly stem
eclis} using the conditioned medium. The method invel¥es
mlintainidg a desired cell in the conditioned media wader
conditions for the cell to remain viable, The cell cao be
maintained under auy suitable condition for cultvring them,
such as are koowo in the art, Desirably, the method permits
successive rounds of mitotic division of ihe cell to form an
expanded population. The exact condilinns (e.¢.,
teniperature, CO, levels, agilation, pressoce of antibiotics,
cle} will depend on the other constituents of ibe media
and on the cell cype. However, optimizing these parameters
are Within the ordinery stall in the art. In some cmbodiments,
itis desirable for the medium io be substantially free of the
lipo-derived sells employed to condition the medium as
desecibed herein. However, in other embeliments, it is
desirable for the lipa-derived cells to remain in the oondi-
tioned! meclium aod eosvolluped with the cells of interest.
Indeed, as the inventive Jipe-derived cells can express
oel-surlace mediators of intercellular canmnnuneation, i
often is desirabte for the Inventive cells and the desired other
cells to be co-cultured under condiions in which the io cell
iypes are in conlact, This cao ke achieved, for example, by
sceding the calle as a heterogeneous population of cells onta
a S§uilable culiure substrate. Alternatively, the inventive
ipa-derived cells can first he grown to confluence, which
will serve as 4 substrate for ihe second desired cells to be
cultured withia the conditioned medium.

Tn another embodiment, the inventive hpaterived cells
can be genetically modified, eg. 1 express exoreoous
penes OF WO repress the expression of eadomenows genes, and
ibe invention provides a method of genelically modtfying
such cclls aod populations. In secordance with ihis meth,
the cell is exposed io a gene transfer vector oomprising 4
nueleic acid including a lranszene, sch that the oveleic acid
is indroduced into the cell woder conditions appropriats for
ihe lranszene to be cxpresaed within the cell. ‘Fhe transgene
generally is an cxpression casseiic, including a coding
polymucicatide opezably linked to a suitable promoter, The
coding polynuchaide can cocods a protcin, or it can cneods
liclogically active ANA (c.g., antisense RWA or a
ribozyme). ‘hus, for cxample, the coding polynucleu lide
can cneade a gene conferring resistance [6 a (Oxi, 2
hormone (such as peptide growth foermenes, hormone
releasing Factors, sex hormones, adrenocarticoirophic
hormanss, cytokines fég., interferina, mterleukins,
Tywinphakines}, etc}, a cell-surtacebound intracellular sig-
Haling moiety fag, cell adbcsion molecules, horoene
receptors, cho}, a Factor promoting a given lineage of
differentiation, etc. OF course, where it is desired to employ
gene iraosfer technology to deliver a given wensgene, ils
sequence will be known,

Within the cxprecssion cassette, the coding polynucleotide
is opezably linked to a suitable promooder, Examples of

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suitable promoters include prokaryote prowlers and yiral
promoters fe.2., relrovial ITRs, LTRs, inmediate carly viral
promoters (Ep), such a3 herpesvirus [Ep feg., MCP4Ep
and ICME p), oytomegalovirus (COM V9 Ep, and other viral
promoters, such of Reus Sarcoma Virus (RSV) promoters,
are Murine Leukemia Virus (MLV) promoters), Other suit-
able promoters are cukaryotic promoters, such as enhancers
(e.g, the rabbit A-glebin repulatory elements), conslitutively
active promoters fe... lke P-actin promotes, cle, signal
apecific promoters (ec, inducible prometers such a5 4
Promoter responsive to RUG, etc}, and lissue-specifie
proorters, [tis well within the skill of die act to select a
promoter suitable for driviag poms expression in a pre-
defined cellular coutest. The oxprcasion cassette can include
more than one ooding podyniclcotide, and i can include
other elements (c.g., polyadenylation sequences, sequences
epcotiog a mormbranc-insertion signal or a secretion leader,
ribosome cnity sequences, Wanscriptioual regulatory ele-
mients fe.g., cohancers, silencers, ede}, and the like}, as
designed,

The expressian cassetie eootaining ihe transzene should
be incocporaled inka a genetic veclor guilable for delivering
the tranggene to the cells, Dapendiog oo the desired ond
application, any such yeclor can be so sraployed to gencii-
cally mglify the cells (e.g, plasmids, naked DMA, virnses
such as alenovirus, adeno-ansoclated visus, herpesviruses,
lenivirises, papilanaviryses, retroviruses, ete). Any
methed of ennsteucting the desired expression cassclts
withio such veciors can be employed, many af which ace
well koown in ihe art (ep. divect cleaing, homologous
recombination, 2ic). OF course, the clots of vector will
largely determine the method used to introduce the vector
inte the cells fe... by protoplast fusion, calewum-phosphate
Piceipitation, gone cun, clectroporation, infection with viral
veotors, cic), which are generally Raawe ia the act.

The genetically altered cella can be employed ay tigre-
actors for producing the product of the wanapene, In other
embodiments, die penebeally modified cells are cmployed to
Ucliver the transgene and its product da an animab Lor
example, the cells, ance genetically modified, ean be indra-
duced into the animal under conditions sufficient for the
trangpede to be expressed in vive.

In addition lo serving as useful tareets for genetic
moliticatinn, ctany cells and populations of the present
invention secrete hormones (c.2.,. eviokioes, peptide or other
fe, MmOnoHhTin) crowth factors, cts), Some of the cells
Talurally segrete such hoomenes wpoo initial isolation, and
other cells can be genetically modified to scercte hormoncs,
as discuased bereia, The ceils of the present invention that
sceTots hormones can Ds weil in a variety of contexts iu vive
fod in vitro, For ¢xamply, such ells can be employed as
biotcactors bo provide a ready source of a given hormone,
and the invention pertains to a qoethed of obtaining bor-
moanes Iron such cells. In accordance with the method, the
cells are culluced, under suitable condilions for them to
secrete the hannone iota the culture mécdium. Afier 4 suil-
able period of time, acl preferably periodically, the mediuna
1s harvested and processed to isolate the hontione from the
medium. Any alandard method fe, gel ac aflinity
chromatography, dialysis, byophilization, ete.} can be weed 1c
purify the hormone from the medium, many of which are
known in ihe att.

In other embodiments, cells (aad populations) of ibe
present invention secreting hormencs can be cmployed as

$ therapeutic agents. Generally, such methods involve tans:

fering (he cells to desired tissue, cither in vitro (ce, a5 2
giafl prior to implantation or cngrafting’) or in viva, to

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animes) tissue direatiy, The cells can be transferees? io the
desired lissuc by any cucthed appropriate, which generally
will vary aevordiog to the tissuc type. For example, cells can
be transfcored te a graft by bathing ibe graft (or infusing i}
with cullure medium containing the cells. Altermaively, the
cells can be seeded onte the desired site within the tissue to
establish a population. Cells can be itausferred io sites in
vivo using devices such as catberters, (roca, canoulac,
lens (which can be sede’ with the oelis}, ete, For these
applications, preferably ihe cell sceretes a cytokine or
growlh hoermane such as fuman gorvih factor, fibroblast
etowlh faclor, nerve growth faster, insubin-like erowih
factors, hernepeetic stem cell prowlh laclors, member of
ihe fibroblast erowth ctor family, members of the platelet
denved growdh factor family, vaseular and endothelial cell
growth faplom, member of the TOFD Jamily (including
bone morphogenic factor), or eneyoes specific for coogeni-
fal disedercs (e.y., distrapis).

In one application, the invention provides a melhod of
promertiog the closure of a wound willie a patient using suck
wells. In aceardance with the mnetbad, the mmventive cells
secréeling ihe hanmone are transterred to the vicinity of a
wound wider condwions sufficient for the cell ta produce dhe
hormone. The presence of the harmane in the vicioity af die
wound promotes closure of the wound. The octhod pro-
moles closure of both external (¢.g., sufsee) and internal
wounds, Wounds to which the presen inventive method is
usefal in promot closure melude, Lut ace gat Limited to,
thrastuns, avulatuns, bilawing woueds, burn wounds,
contusions, punghot wounds, incised wounds, open wounds,
Peoctratiog woudds, perforating wounds, puncture wounds,
selon wounds, slab wounds, sucical wounds, subcutaneces
wounds, oF langeniial wounds, The meted need pat achieve
Sanpete healiog or closure of le wand, i is sufheient for
thé method io promate any depres of wound closure, In this
respect, the method can be emptoyed alone or as an adjunce
to other methods for healing wounded hssue,

Where the inventive cells secrete an angiogeni¢ honnone
(eg, vascular growih factor, vasculae and endothelial call
erowih factor, etc, bey fas well as populations containing
them) can be employed io induce angiogenesis within tis
sues. ‘Tis, the invention provides a method of promoting
neovaschlarizalion within tasue using euch cells. In accars
dance with this method, ihe coll is introduced the desiced
lps under conditions suMeieot for the cell ja produce the
Angiogeni¢ heommene, The presenee of the hormone withia
the fagle promotes neavascularizatian within the tisawe.

Because the inventive stem cells have a developmental
phenolype, they can be employed in hase engineering. In
this regard, the invention provides a method of produsing
animal matter eonoprisiog mainiatoing the inventive cells
wner conditions saeiieiemt for die ta expand andl differ
entiate Lo foom the desired mathe The matter con inélude
mature tues, or even Whole organs, including Hssue types
inda which the inventive cells can differentiate (as set forth
herein} ‘Vypically, such matter will comprise adipose,
canilage, fear, demmal connective tissue, blood tissue,
muscle, kidney, bone, pleural, splanchote tissues, vascular
tissucs, and the iike, More typically, the matter will comprise
coobinations of thes: tissue types (i.<., more than one tissue
type). For example, ihe matler can comprise sll or a poriton
of an aninial organ fe, 2 heart, a kidney} or & limb (e-¢.,
a leg, a wing, an arm, a hand, 4 fool, 6he,). Of course, in as
moueb as the cells can divide and diffcrontiate ta produce
such simetures, they can also form aolagen of such sioce-
tures. At early stages, such anlapen cao be cryopreserved for
future gencration of the desired) malure alrelure or onan.

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‘To produce such structures, the inventive cells and pope-
lations ave THaintained under conditions suitable for thom to
expaod aod divide to form ihe desired stectures. Tn some
applicalious, this is accomplished by transferring them te an
ammal (i... in vivo} lyptcally ata sight at whicl: the new
Toatter is desired. Thus, for cxample, the inventign can -
facililate the repeneraiian of tisgues {ee bone, muscle,
cartilage, tendons, adipose, ett.) within an animal where the
cells are implanted inte such tissues, In odber embodiments,
ant particularly to create anlagen, the cells can be induced
to differentiate and expand inte tissues in vitro. In such
applications, the ells are cullurcd on substrates that facili-
tate Formation inte threasdimensitodal structures eorehagive
for tissue development. Thus, for prample, the cells can be
qllured ot seeded onte a bio-compatible lattices, such ag one
that includes cxtracelular matrix material, syathetic
polymers, cylokives, growth factors, ete. Such a lattice can
be molded into desired shapes for facilitating the develop.
raetil af tise bypes. Also, at least ad an carly stage during
such culturing, the mediung and/or substraie is supplemented
With factors fe.g., growth Jaclor, eylokines, extracellular
eraktix material, ele.) thal factlilale ibe development of
appropriate tissue dypes and structures, Indeed, in sine
embodiments, tl is desired to eo-cultice the cells with matare
cells of the respentive tissue ype, or precursors therof, or
10 expose lhe cells tg the respective conditioned medium, as
discussed herein.

"Vo facilitate the use of dhe inventive liposicrived cells and
populations for peeduciog such animal matter and tissues,
fhe iivéolion provicks a composition including tbe inventive
cells (and populations) and biglagi¢ally compatible lattice.
Typically, 4be lattics is formed from polymeric material,
having fibers as a mesh or sponge, Wpically with spaces on
the onder of between about 100 yam and about 300 wim, Such
4 slnlolure provides sufficient area on which ibe cells can
grow and prolifcrale, Desirably, the lattice is biodegradable
over time, se that it vill be absarbed into the animal matter
as it develops, Suitable polymerie lailices, thug, can be
formed from moodiners such a8 glycolic acid, lactic acid,
propyl fumarate, caprolactone, hyaluconan, hyaluronic acid,
and the like, Quber lattices can include proteins,
Polysaccharides, polyhydroxy acids, polyorthocathers,
polyanhydrides, polyphosphazenes, or syalhetic polymers
(particularly biodegradable polycners), OF caurse, a swilahte
polymer for forming such lattice can inchide move than one
monuuers (e.p., combinations af the indicated monomers.
Adso, the latlice can also include hormones, such as prawth,
faclors, cytokiocs, and morphopens (ee. relinor acu,
aracadonic acid, eic.), desired extracellular riatrix molecules
(eg, fibroncetin, lamiuin, collagen, etc), or other materials
(og, DNA, viruses, other cell types, ele.) as desired,

Te form the composition, the cells are intraduced inga the
lattice such thal they parmeate into the incerstitial spaces
There, For example, the matrix can be sovked tn a solution
or suspeasion contaiuiug the cells, or they can be infused ar
injected into the matrix. A parliculady preferred cocnpeesd-
lion is a hydrogel formed by crosslinking of a suspension
including the polymer and also haviog the inventive cells
dispersed therein. This method af Lammation permits the cells
to be dispersed thoughout the latlice, facilitaliog more even
Fermeation af ihe latlice with the celb, OF course, the
compoasition also ca include mature cells of a desired
phenatppe or precursors thereaF, parligularly to palentate the
induction of the anventive stero cells tt differentiate appro-
Briglely wilbin the latlice (r.¢.. an an effect of cn-colturing
such cells within the lattice},

The composition can be employed in acy siteble manoer
to Tacilivate the growih avKl generation of the desired tissuc

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1ypos, siruciures, of anlagen. Mor cxample, the composition
cio Le consteucted usiag theee-dimensional or steratactic
moodeliog techniques. Thus, for cxample, a layer or domaio
within the compesilfoo can be populated by cells primed for
oeteopeoia differentiation, and anather layer at domain
within lbe composition gan be populaled with oells primed
for myogedic audfor choudrogenic developitcat. Bringing
such domains into juxtapostion with each other facilitates
the melting and differentiation of complex structures
including mulople bssue types (c.g, bane sturraunded by
rouscle, such as found in a limb), Te divect the geowth and
differentiation of the desired stucture, the composiien can
be cultured ex vive in a biareactor ar incubator, as appro-
phate. In ather embodumects, the structure is implanted
within the host aaimal direcdy al the site in which if is
desired io prow the tizeue or structure, In still another
eniodiment, the campasiion cau be engrafted on a hast
{typically an animal soch as a pig, baboon, cic), where it
will grow and matuce uattl ceady for use. Thereafter, tha
Taalure atruglute for anlage) js exetsed [rom the host and
totplanted inte the host, a5 appropriate.

Lattices suitable for inclusion inte ile composition can be
derived fram any suitable souree few., matrigel), aod some
commercial sources for suitable lattices oxist (e.g., suitable
ul polyglyowtic avi can be obtained From suaness sogh ws
Eibicoo, WL, Anober suitable lattice can be derived from
the acellular portion of adipose tissue—ic., adipoac tissu
extracellular matrix matter substantially devoid of cells, and
the invention provides such a lipo-derived laiicc. Typically,

slich lipo-derived Jattice jinctudes proleins such as 4

proteoelycans, glycoproteins, hyaluronins, fibronectios, col-
lagens (type I, type IL, type [1 type PV, type ¥, type V1, etc),
and the like, which serve as exeellen! subsirates for cell
erowlh, Additionally, sueh lipoaterived latices can include
hormones, prelerably evlokines and scowth [aotorm, for
facilitating the growth of eefls seeded into ibe matrix.

The lipo-derived matix can be isolated form adipose
tissue similarly as described above, except that it will lo
present in the acellular fraction, For example, adipose tissu
or derivatives thereof (c.g. a Faction of the cclls following
the centrifugation as discussed above) can he subjected ta
sonic of ibermal eucrmy andfor cnzymatic processed to
recover the miateix material, Also, desirably the cellular
fraction of ile adipose fissuc 5 disrupted, for example by
teoaliug, it with lipases, detergents, proteases, andvor by
qechanical or sonic disruption (<6. using a homogenizer or
sonicator, However isolatcd, the maternal is initially iden-
lified as a viscous material, but it can te subsequenily
ineated, a5 desized, depending on the desired end use. For
example, Ube row maltix material ean be ttealed fe...
diglyacdl ar ireated wilh proléases or acids, ete.) to produce
a desirable lalligc material. Thus the lallice can be prepared
in & byrated form on it can be died or lyuphilised into a
substantially anhydrous form or a powder, Therafler, the
powder can be rehydrated Jur use asa oell culture substrate,
for example Ly seapending il in a suitable cell culture
medium. In this regard, the lipo-decived! laltice cao be mixed
with ather suilable lattice materials, such as deseribed
alae, OF cgurse, the invention pertains to coupasitians
including the Lipaferived lattices and cells or populations of
oells, such as the inventive lipo-derived cells and atber eclts
as well (particularly other types of alten cells),

As discussed above, the cells, populations, lattiens, and
compositions of the invention cao be used in tissue cogil.
neering aud mgeneration. Thus, the invention pertains to an
implantable siriciuce (i., an ioplant} incogoraliog any of
these Inventive Eoatures. The ¢xact nature of the implant will

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wary according ta the wee ia which wis be be put. The implant
can be ar comprise, a5 described, mature tissue, or it can
ioglude immature tissuc or the lattice. Thus, for example,
onc type of implant cao be a bone implant, wamprising a
population of the inventive oells that are vadergoing (or are
primed for) osteogenic differentiation, optionally seeded
within a lattice of asuilable size and dimension, as deseribed
above, Such an implant can be injected or engrafted wilbin
a Dost to CACOUFABS the soneration ar regeneration of mature
bone tissue within the paGent. Similat implants can be nscd
to encourage ihe growth ar regeneration of omusele, fat,
carhlape, tendons, etc, within patients, Other types of
Triplants are anlagen (auch as deseribeal becein}, oe. limb
buds, digit buds, developing Kidneys, ete, that, once
cdgrafted onto a patient, will mature inde the appropriats:
SUUCtbres.

The lipo-derived latices can conventcnily be employed as
parl of a cell culture kit. Accordingly, the invention provides
a kit including the inventive lipo-derived lattice and ane or
more other components, such as hydrating agents (ee,
water, physiologically-compatible saline solutions, prepaced
ccll culture media, sonun or derivatives thereal ele), cell
culture substrates (g-, culture dishes, plates, vials, ete},
cell culiure media bybetler in liquid ar powdered form},
anithiowig sompounds, bercooes, and the like. White the kit
ean jochide any auch ingredients, preferably it includes atl
ingmedicols avecasary to apport the culture and growth af
desired cell types upoo proper combination. OF course, if
desired, the Bil also can include cetle {yyically Irie),
whish ean be seeded into the lattice as described herein.

White many aspects of the invention pertain to tissus
growth and differentiation, the invention has alter applica-
tions as well. Por example, ihe Lpe-derived lalliee gan be
used as ag experimental reagent, auch as in developing
improved lattices and substrates for issue prawih and <if-
ferentiation. Whe lpo-derived luitice alsa can he employed
oosmclically, for example, io bide wrinkles, scars, culanecus
depressions, <tc. or for tissue augmentation. Par auch
applications, preferably the lattice is stylized and packaped
in wit dosage form, LE desived, it can be admixed woth
camicrs ft... solvents such as glycerine or aloghals),
perfumes, antibiotics, colorants, and other ingredients cam-
monly coployed in cosmetic products, The substrate alge
can be sroployed antelogously or as ant allogeafl, and it can
used as, or iocluded within, ointments ar dressings jor
facilitating wouod healing. ‘The lipo-dived cells can also be
used as expertoocntal reagents, Por cxarople, they can be
employed to help discover agents responsible for cacly
events in dilfereotiation. For example, the inventive oclls
gan be exposed ta medium for inducio a particular linc of
differentiation aur then assayed Lor dillerential expression of
genes (¢g.. by random-primed PCR or cleckmphoresis or
protein or RMA, ee),

As aoy of (be steps for isolating ihe inventive stem cells
or the Hpo-ferived fattice, the, the invention provides a kit
for fsalating auch reagents from adipose tissues. The lt can
include a means for isalaling adipose tissue trom a patient
(eo, 4 cannula, a pestle, an aapirator, cic), as well as a
means for separating stromal celly (t-g., though methods
descrihed herein), The kit can be employed, for example, as
a bedside soures of stem cells that cad then be re-introduced
from ihe same individual as appropriate, Thus, Une kil can
Facilitate the isolation of lipo-derived stera cells For implaa-
tation in a patient neediog regrowth of a desired tissue type,
eved in (he same procedure. In this respect, the Kit cau alee
include a medium for diffrentialing the cells, such as chose
scl forh herein, As appropriate, the cells can be exposed 1a

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the medium be prime them for differentiation within the
palicnt as needed. OF course, ihe kil can me used as a
convenient source of stem cells for im viteo manipulacian
fe.g., claning or differentiating as described herein). In
another eoibedioeaot, the kit can be employed for isolating
@ lipo-derived datiice as deserted bereio.

EXAMPLES

While one of skill in the act is fully able to practice the
instant tventian upon reading ihe foregoing detailed
desenption, the following examples will help cluesare some
of its Features. In particular, they demonsirate the isolation of
a huvaan lipo-derived stem cell substantially free of mature
adipocytes, ihe igo)]stion of a clonal papulalion of such cells,
the ability of such cells to differentiate in vive and in vitro,
and the capacity of such cells to support the growih of other
types of stem cella. The examples also demonstrate ihe
isolation of a lipoderived latlice substantially free of cells
that 18 capable of serving a4 o suitable substrate for cell
culture. QF cowed, as these examples ace presented foc
purely ilfuslralive purposes, they should not be vsed be
construe the scope of dhe invention in a limied manner, but
rather souk he seen as expanding upon the forepoimne
description of ihe invention ag a whole.

The procedures employed im these examples, such ag
surgery, cell culture, enzymatic digestion, histology, and
moalceular analysis of proteing aud polyauclectides, are
familiar to those of ordinary skill in His art. As such, and in
the interest of bievily, experuueatal details are wot recited in
detail,

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assessed Tor viability (using trypan bluc exciusien) acd cell
nuciber, Thereafter, they were plated als density af about at
about 1x10° cclis'100 mea dish. They were cultured at 37°
C. in DMEM+fetal bovine serum (about 1096) io about 558
CO.

The wajority of the cells were adberent, small,
Tuunonucleic, celalively agranulac fibroblast-like celis cou-
Wining oo visible Lipid droplets, Tho majority the cells
slained negatively with oll-ted O aml von Kossa. The cells
were also assayed for expression of telomerase (using a
canmercially available TRAP assay kit}, usiog [lela eels
and LEN-12 cells as positive canirals. Human foreskio fibro-
blasts and HiN-L2 heated coll extracts were used as negalive
controls, Telomere products were resolved onto a 12.5%
polyacrylamide cells and the signals determined by phas-
phoriniaeing, ‘Telerneria ladders representing telomerase
activity were observed in the adipose-deriwed stem cells as
well as lhe positive controls, No ladder were observed in
the negative controls,

Thos, these cells were not identifiable as myocytes,
adipocyles, chondrocytes, asleocyies, of blood cells. These
result, demonstrate that the adipose-derived cclls oxpreas
tclomerssc activity similar to that previously reporied Gor
human stem ois,

Subpopulations of these cells were ihea exposed tn ihe
following media io assess thea developmental phenolype:

Adipaperssis Daleopencsis MMypponcsis. Chondragenedia
CMEM DMEM DMEM DMEM
10% FES 10% THs 10%) PHS 1% FOS
14 mM VMK 382 hore seni FS) howd £6runl a5 etm insulin
1 pd dexectothason O.0 wid dexamethasone = SO eM bydrecorkere = G25 egiml transtercin
10 peck insulin 30 add escocbater2= 1% A1LAM 10 opin TF
200 aM ineqriethocin = phgasphae 30 oM ascorkare-2-
140 ABEL Ti aukt pe Phosphate
glycercphasphaw 14 ABA
10 ADAM

Example i

This example demonstrates the isolation of a Iuman
lipa-derived stem cell substantially free of mature adipo-
oyles.

Raw hposuction aspirale was obtained from patients
undergoing éleglive surgery. Prior io the lipgauglion
procedures, the patients were given epinephrias to minimise
conlaminalion of the aspirale will blaad. The aspirate was
sirainél ta separate asaociated adipose tlaiwe preces Prom
associated liquid waste, Isolated tissue was rlosed chor-
aughly wath mewiral phosphate bultered galine and then
cozyniatically disscctaled with (075% wey colagcnase al
37°C. for about 20 minutes under internilent agitation.
Foltowiug ibe digestion, the collagenase was neutealized,
and the slurry was centrifuged at about 260 w for abou 10
minutcs, which produced a multi-layered supernatant aod a
cellular pellet, The superpalant was removed and retained
for further we, amt ihe pellel was resuspend: in an
erylhoacwe-lysing salution and intubated without agilalion
at about 25°C, fac about 10 minutes. Following incubalion,
the medium was neutralized, and lhe oells were again
centrifuged al about 250 @ for about 10 minutes. Following
the second centrifugation, the cella were suspended, and

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A population was cultured at bigh density in the chon-
dregenic medium for several weeks, [hshiogicul analysis o£
the issue culture and paraitin sections was performed yith
H&E, alcian blue, toludene blue, and Goldner's wichrome
staining at 2, 7, and 14 days, lnmmachishighemisiry was
performed using antibodies agaist chondmilin-4-sulfate
and keralin sulfate aod type II collagen. Qualitative catimate
of naatrix staining was also pertormed. The cesules indicated
that cartilaginous spheroid nodules wilh a diglinet border of
pertahondral gels Formed as early a¢ 48 hours afler initial
treatment, Watreated cantns) cells exhibiled no cvidence of
shondropecic differentiation. These rosults couficr that ihe
stem cells have chondmgenic develapmental phenotype,

A population was culluced until near confluence and then
exposed tO (he adipngenic medium for several weeks, The
population was examined at hwo and four weeks alier plating
by colorimetric assessment of relalive opacity falkewing ctl
red-O slang, Adipopencais was determined to le uodler-
way al bya weeks and quite advanced at four weeks frelatnes
opacity Of 1 aml 3.3, respectively). Bone marrow-derived
stem colls wore croployed a8 a positive contral, and these
cclls exhibited slightly less adipogenic pHential (relative
density oF 07 and 2.8, respectively),

A population was cultured uotil near confluence and then
exposed ta the osteageneie medium for several weeks. The

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population was examined al ove dod four weeks aller plating
by colorimetric asscasnicat of relative opacity following vou
Kossa staining, Osteogenesis was determined to be waders
way al avo weeks and quite advanced al four weeks (relative
opacity of 1.1 aod 7.3, respectively, Bone marrow-derived
stem cella were employed as a positive control, and these
cells cxhibited slightly lesa ostcngenie potential (relative
density of 02 and 4.6, respectively).

A population was culiured until near conflucoce and then
exposed to ihe myogenic medium for several weeks, ‘Fhe
population was examined at one, thoes, aod six weeks after
plating by assessment of moulinvelcated cells and expressio
of oiusele-specific proicins (MyoD and myosin heavy
chaio}. Wunan foreskin fibroblasts and skeletal myoblasts
were used a5 controls. Cells expressing Myol and ovyosin
were found al all time poiots following exposure ia the
myogenic medium in the stem cell population, and the
proponion of such cells incrcascd at 3 and 6 weeks. Multi-
nucleated cells were Ghserved at 6 weeks. In contrast, the
fibroblasts exhibited none of these characteristics al any ime
{roiots.

These results demonstrate Hie molanan of a human fipo-
derived pluripatent stem cell substantially free of mature

ailipocy les.
Example 2

This cxample demonstrates thal lipgalerived stem cells de
not differentiate in response to S-azacytiding,

Lipoalenvel stem cells cliamed im accordance with
Example 1 were culluced io the presence of S-azacytidioe. In
Codtrast Wilh bone ctarcow-derived slam cells, exposure to
this agent did nod induec myogenic differentiation {see
Wakitani ct al, supra).

Lxample 3

‘This example demoosirates the generation of a clonal
population of bus lipoderived stem cells.

Cells isolated in accordance with the progedure set Porih
in Example 1 were plated af about 5,000) pelisoe) mom ath
and cultured For a few days as (ndicatedt in Bxarmple 1. After
some rounds of cell division, some clones wore pigked with
a cloning ring and iraosfered to wells in a 43 well plate.
These cells were cultured for several wecks, changiog the
medium twins weekly, until hey were about 8096 to about
$0% confluent fat 37" &. in about 34 OO, in 44 F)medium+
20% fetal bovine serum and 44 standard medium that was
first conditioned By the cells isolated in Example 1, “eloning
medivo"). Thereatter, each culture was transferred to a 35
Toot dish and groan, and then rélransferred to a 100 rom dist.
fod grown until clase to conflucn, Following this, ane ecll
Popwiation was frogen, and the remaining populations were
Plated oo 12 well plates, at LOO cells/well,

The cells were cultured for more than 135 passages in
elooing metlium and monitored for ciflereniiation as inddi-
cated in Example 1. The undifferentiated stale oP each elane
remained truce afltc slexasive sounds af differentiation.

Populations af the clones then were established and
exposed lo adipogenic, chondrogenic, myogenic, and asteo-
penic medium as discussed in Example 1. [t was obscoved
thet at least one of the clones was able to differentiate into
Tone, fal, cartilage, sod nousele when oxposed to the mspec-
tive media, and most of the cloucs were able to differentiate
inte at least three types of dissues, ‘The capacity of the colls
to develop info muscle aod carilage furber demonstrates
the pluripatentiality of these lipo-derived stem cols.

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‘These results demonstrate thai the lipg-detived sem cells
can be cosintaioed io an wodifferentiated state far many
passages withowl die requirement for specially pre-scresned.
lots of strum. The vesulis alsa demonstrate that the oclls
Tetain ploripotcotiality following sich extensive passaging,
proving that the cells ae indeed stem cells and nol merely
committed progenitor onlls.

Example 4

This example demonstrates the Hpo-derived stem cells
can support the culture of other typos of stom cells.

Human lipa-derived slem cetls were passaged onto 96
well plaies ala density of about 30004well, cultueced foc
ane Week and then irradiated, Human CD34" heoraopoctic
stem oells (alated [rom vmbilical cord blood were theo
seeded into the wells, Co-cullures were maintained in Mycl-
aCult HF1 00 media, and oe viabilily aod proliferation were
moniiocd subjeciively Ly microseapie Ghecryation. Adter
two weeks of co-culture, the hématapoctic stem oslls were
evalualed for CD34 expression Dy low cytoniclry.

Over a bwo-week period of eo-aultuce with stromal cells,
the hematopestie alem cells formes large colonics of
Tounded oells. Flow analysis revealed that 62% of the coils
remained COS44, Based on microscopie observations,
human adipo-dberived stromal cells maintained the survival
and supported the peoath of beman bemalopootic sicm cells
derived front wobilical cord blood,

These results demanstrate that elromy] cells from bumao
subcutaneous adipose tissue are able to suppore the ex viv
maintenance, growth aod differentiation of other stern cells,

Lxample 3

This example demonstrates that the lipo-dezived stem
cclls can differemiate in vive.

Four groups f4-[4 of 12 athymic mice cach were
troplanted subculaneuusly wilh hydoexyapalite/iicaletium
phosphate cubes conlaining the following: Group uA con-
tamed lipo-derived stem cols that had Been pretreated with
aslengenia medium ay sél fgrth in Example 1. Group 6
conlaioed untreated liposderived stem cell, Group C con-
dained osteogenic mectium but ao eels, Group D contained
noo-dsleageni¢e medium ant no ools, Within cach group, six
mice were sacrificed at tree weeks, and ihe remaining mice
aacrificed al eighe weeks following implantation. The cubes
Were extracted, fixed, decalcified, and sectioned, Bach sec-
tion was atalyzed by staining with [h&E, Mallory bone
stain, and inimunostaining for esleacalein,

Distinct regions of osteoid-like tissue staining for ostco-
calein and Mallory bone staining was observed in sections
from proups A. god B, Substantially moore osteoid tissue was
observed in groups Aand B than in the other erorps (p<0.05
ANOVA), but 00 significant difference in osteogenesis was
observe between groups A and B. Moreover, a qualitative
increas¢ lo bone growdh was ooted in both groups A aud E
between 3 and 8 weeks. ‘Vhese results demonstrate that the
lipa-derived stern cells can differcntiate in vitre.

Example 6

This example denonsnves the isclaiioa of a lipoderived
lattice substantially devoid of cells.

Tn one protocol withheld supemataot ftom Example 1 was
subjected to enzyoratic digestion for threc days in 0.05%
trypsin ELYRA/1LOO Uso deoxyribonuclease to destroy the
cells, Geecy clay the debris wad ringed in salige aod fresh
cnzyme was added. Trereafier ibe material was riosed io

US 6,777,231 B1

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saline and resuspended in 0.055 collapease and about 1.15%
lipase to partially digest the proteins and fat presen, This
incubatien continued for tye days.

Tr anciher protacol, the withheld supernadiant from
Lixample 1 was incubaied in HOTA to climinate any epithe-
lial cells. The remaining cells were lysed using a buffer
containing 19 NP4Q, 0.56 sedium deoxychalate, 6.1%
SDS, 5 mM EDTA, 0.4M Nad, 50 mMTris-LICL (p18) and
protease inhibitors, and 10 wevml each of leupeptin,
chynistauo, autpain, aod pepstatin A. Pioally, the tssue
was extensively washed in PHS without divalent cations.

Adier DOL preparatory protocols, remaining subslance
was washed and identified as a pefatinows mass, Micra-
scopic analysis of this material revealed that it canlaine] na
cels, aml il was wonpostd of bipt amounts of cotlagen
(likely type I'¥) and a wide vactely af prowth factors.
Prepatalions af this material have supported the growih of
te) is, demansteating W to de an excellent substiate for dssuc
culture,

Incorporation by Reference

All sonrecs (e-g., Inventor's cerdilicates, patent
applications, patents, Prinled publications, repository soots-
sions or records, viilily models, world-wide web papes, acd
the like) referred to or cited anywhere in this document or in
any drawing, Sequence Listiog, or Statement fleck gongut-
renlly herewith ate hermby incorporated inta and made part
of this specification by such reference therelo.

Gide to Mrterpretation

The foregoing is an iategrated descripion of the invention
ag a Whole, aot merely of any particular element of facet
lhereed, ‘he description describes “prefered embodiments”
of this invention, ineluding the best mode known to the
invertors for carrying it owl, Of course, upon reading ihe
foregoing deseription, vacations of those preferred embrodi-
Tacos will bewome obvious 10 those of ontinary skill is the
ad The inveoiors expect skilled artisans ta employ such
varlalions a5 appropriate, and ihe inventors intend for the
invention to be practiced otherwise than as specifically
described berciu, Accordingly, this invention includes all
niodiflcations aod equivalent: of the subject matter recited in
the claims appended herelo as permitted by applicable law.

As used in the foregoing description and in the following
claims, singular iodicators {tg., a" or “one ) include the
Plural, unless otherwise indicated, Recitation of a range of
discontinuens values is inkended ta serve as a shorthand
melhad of refering individually ta each separate vale
falling wihio the range, aml cach seperate value ig inear-
poraled inte lhe specification as if it were individually listed
Additiunally, the fiellowing tecns are dedined as follows:

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4b

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An anlage is 2 primordial structure that bas a capacity ta
develop into a specific mature struckine,

A developmicntal phenotype is the potential of a cell io
aequire a particular physical phenotype through the
process of ciflerentialion.

A bomoons is any substance that is scereted by a cell and
that causes a phenotypic chauge in the same or another
eclt upon contact.

Astem cell is a pluripotent cell that has the capacily to
differentiate in accordance with at least two disercte
developmental palhways,

As regards the claims in particulay, the term “eansisting
essentially of" indicates that uolisted ingredicuts or steps
that do noi materially affect the basic and novel properties of
(he invention can be employed in addition to the apecitically
recited ingredisots or steps. In contrast, terms such as
“comprising,” “having,” aod “ineluding™ indicate that any
ingredicnis of steps can be present in addition to those
recited, The term “consisting of" indicates that only the
recited ingoedicnts wr steps are present, but docs oot fore-
close the poabilily that equivalents of the ingredieols ur
sleps can subslitulé far those specifically recited,

We elain:

1. Ao isolated adipose-aderived stena coll that can differ.
eolisic ino two or more of ihe group consisting of a bane
wel], a cartilage cell, a nerve cell, or 4 ouseks coll.

2. An isolated, adipose-derived multipotent cell that cit:
ferentiates iota cells of bwo or more mesodermal pheno.
bypes,

3, An isolated adipuse-derived stem ecll that differentiates
int OO ar more OE the praup consisting ofa fut coll, a bone
well, a vurtilage ell, a nerve ell, or a muscle coll,

4, An isolated adipose-derived steon cell thal dillerentiates
tle a coMMbynatian OC any of a fatce)l, a bone cell, a cartilage
cell, a nerve cell, Gc a muscle cel,

5. A substantially homogeneous population of adipose-
derived stem cells, comprisiog a pluality of the stem cell of
claim 1, 3 or 4,

6. The adipose derived stem cell of claun 1,3 or 4 whieh
cand be cultured for al least 15 passapes widhowt difterenii-
ating.

7. The adipose -derived stem cell oF claim 1, 3 ar 4 whigh
15 burnan,

#. The cell of any of claim 1,3 or 4 which is wenetically
meade.

9, The coll of any of claim 1, 3 or 4, which has a
cell-surface bound intercellular sigoaling moiety.

19, The cell of any of claim 7, 3 oc 4, which secretes a
hormone.

Issued from the
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF NEW VORK
UNIVERSITY OF PITTSBURGH of the Commonvvealth

System of Higher Education,
SUBPOENA IN A CIVIL CASE
Plaintiff,
Case Number: C.A. No. 2:04-09014 Litigetion pending in U.S.
¥. District Court, Central District of California (Western District —

Los Angelos)
Mare H. HEDRICK et al.

Defendants.

TO: Olympus Corporation
Olympus America !ne.
2 Corporate Center Drive
Melville, NY 11747-3157

LJ YoU ARE COMMANDED to appear in the United States District Court at the piace, date, and time

specified below to testify in the above case
PLACE OF TESTIMONY COURTROOM —

RATE ANC TIME

YOU ARE COMMANDED io appear at the place, date, and time specified below to tastify at the taking
of a deposition in the above case. See schedule A attached,

PLACE OF CEPOSITICN BATE AND TIME
DRINKER, BIDDLE & REATH LLP
140 Broadway, 39" Floor, New York, NY 10005-1116 eee ey rebruary 27, 2006

L] YOU ARE COMMANDED to produce and/or permit inspection and copying of the following documents
or objects at the place, date, and time specified below (list documents or objects: See schedule A

attached. -
PLACE DATE AND TIME

[1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below:
PREMISES DATE

Any organization not 4 party to this suit that Is subpoenaed for the taking of a deposition shall designate one or more
officers, directors, or managing agents, or other persons whe consent to testify on its behalf, and may set forth, for each persen
designated, the matters on which the’ Berson wil testify. Federal Rules of Civil Procedure, 30(bi(S).

ISS LUNG OFFICER SIGNATURE AND, Ti yo IFATIDRAB AMT IFF OR QEFENDANT DATE
| Hf 4
Attormey for Plaintiff “ N CNet

February 3, 2006
ISSUING OFFICES NAME, ADDRESS AND PHONE MUMBER 7 hy
Kathryn R, Doyte, Drinker Biddle & Reith LLP, One Logan Square, 18" and Cherny Streets, Philadelphia, PA 19103-8996
215-998-2902

(See Rule 45, Federal Rules of Civil Procadure, Parts C & Don Reverse}

fe Be eee neces ee

Rule 45 of the Federal Rules of Civil Proecdure grants you the following Protections:
{c} Protection of Persons Subject to Subpoenas.

(1) A party or an attorney responsible for the issuance and service of a subpoena shall take teasonabie steps
to avoid imposing undue burden or expense on a person subject to that subpoena. The court on behalf of
which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of
this dety an appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable
attomey’s fed,

(2) (A) A person commanded to produce and pertuit inspection and copying of designated books,
papers, documents or tangible things, or inspection of premises need not appear in person at the place of
production or inspection unless commanded to appear for deposition, heating or tial.

(8) Subject to paragraph (4)(2) of this rule, a person commanded to produce and permit inspection
and copying may, within 14 days after service of the subpoena or before the time specified for compliance if
such time is less than 14 days after servicc, serve upon the party or attomey designated in the subpoena
written objection to inspection or copying ef any or all of the designated materials or of the premises. If
objection is made, the party serving the subpocna shall not be entitled to inspect and copy the materials or
inspect the premises except pursuant to an order of the court by which the subpoena was issued. If objection
has been made, the party serving the subpoena may, upon notice to the person commanded to produce,
move af any time for an order to compel the production, Such m order to compel production shall protect
any person who is not a party or an officer of'a party from significant expense resulting from the inspection
and copying commanded,

(3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the
subpoena if it

(i) fails to allow reasonable dime for compliance:

(it) requires a person who is not a party or an officer of a party to travel to a place more than 100 miles
from the place where that person resides, is employed or regularly tansacts business in person, except that,
subject to the provisions of clause (s)(3{B)tii) of this rule, such a person may in order to attend irial be
commanded to travel from any such place within the state in which the trial ig held, or

(iii) requires disclosure of privileged or other protected matter and no exception of waiver applies, or

(iv) subjects a person to undue burden.

{BH} Ifa subpoena

(i) requires disclosure of a trade secret or other confidential research, development, or commercial
information, or

(ii) requires disclosure of an unretained expert's opinion or information not deseribing specific events or
occurrences in dispute and resulting from the expert's study made not at the Tequest of any party, or

(iii) requires a person who is not a party or an officer of a party to incur substantial expense (o travel more
than 100 miles te attend trial,

the court may, to protect a person subject to or affected by the subpoena, quash or modify the subpoena or,
if the party in whose behalf the subpoena is issued shows a substantial need for the testimony or material
that cannot be otherwise met without undue hardship and assures that the person te whom the subpoena is
addressed will be reasonably compensated, the court may order appearance or production only upon
specified conditions.

babe ee

SCHEDULE A:

The deposition will encompass the following topics for the designated witness(es}:

1, All communications with Cyton Therapeutics, Inc. (‘Cytori’) that reference U.S. Pat.
6,777,231 in any way.

2. All communications with Cytori that reference the civil action University of
Pittsburgh et al v. Hedrick et al., 04-cv-09014 (Central District of Califomia).

3. Ail communications between Dr. Mare Hedrick and Olympus Corporation.

4, All communications with Cytori that reference an inventorship dispute about U.S.
Pat. 6,777,231,

5. All communications with investment brokers, managers, bankers, or financial
company representatives of any type regarding U.S. Pat. 6,777,231, its technology, tts
inventorship, Dr. Mare Hedrick, Cytor, an inventorship dispute about U.S. Pat. 6,777,231, or the
civil action University of Pittsburgh et al v. Hedrick et af, 04-cev-09014 (Central District of
Califomia).

6. All communications with equity investors, analysts, securities dealers, or NASDAQ
representatives regarding U.S, Pat. 6,777,231, its technology, Cytori, an inventorship dispute
about U.S. Pat. 6,777,231, Dr. Mare Hedrick, or the civil action University: of Pittsburgh et af v.
Hedrick et at, 04-cv-0901 4 (Central District of Califoma).

7. All references in the jomt venture documents and dealings between Cytori and
Olympus Corporation to U.S. Pat. 6,777,231, its technology, an Inventorship dispute about U.S.
Pat. 6,777,231, Dr. Mare Hedrick, or the civil action Catversity of Pittsburph et al ve Hedrick et

al, 04-cy-09014 (Central District of California),

8. The collaboration between Cytori and Olympus Corporation.

ae eit cabin eared Bila ans nln.

ADB Re 44) Subpoana ipa Ghd Gass . oe

Issued from the
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF NEW YORK
UNIVERSITY OF PITTSBURGH of the Commonwealth |

seam

System of Higher Education, i
SUBPOENA IN A CIVIL CASE
Plaintiff, :
Case Number: C.A. No, 2:4-09014 Lidgation pending m US. =
¥. District Court, Central District of California (Western District — +
Los Angelos) :
Mare H. HEDRICK et al,

Defendants. i

TO: Olympus Corporation

Olympus America Inc.
2 Corporate Center Drive :
Melville, NY 11747-8157

[] YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time

specified below to testify in the above case
PLAGE CIF TESTIMONY EOURTREOM

BATE Oho ThE

L] YOU ARE COMMANDED to appear at the place, data, and time specified below to testify at tha taking

of a deposition in the above case. See schedule A attached,
PLACE OF DEPOSITION BATE ANE TIME

YOU ARE COMMANDED to produce and/or pennit inspection and copying of the following documents
or objects ai the place, date, and time specified below (list documents or objects): See schedule BE

attached.
= DATE AND TIME
DRINKER, BIDDLE & REATH LLP Feb 22. 2006
th ebrua :
140 Broadway, 39° Floor 10:00 AM,
New York, NY 10005-1116

[] YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below:
PREMISES DATE

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate ona or mare
officers, directors, cr managing agents, or other persens who consent to testify on its behalf, and may sat forth, for each parson
A he powill tastify. Faderal Rules of Civil Procedure, $0(D)(6),

DATE

ISSUING OFFICER SIGNATURE AND TALE Fir ATO EO
February §, 2006
, Tit. ie f

Aitorney for plaintiff ;
ISSUING OFFICERS NAME, ADORESS BiG .E MME n
Kathryn R. Doyle, Drinker Biddle ig Reath LEP, One Logan Square, 14° and Gharry Streets, Philadelphia, PA 19103-6896

215-988-2902

PLAINTIFF OR GEFENGANT

(Sea Rule 45, Federal Rules of Glvil Procedure, Pars C & 2 on Reverse)

Rule 45 of the Federal Rules of Civit Procedure grants you the following Protections:

(¢} Protection of Persons Subject ta Subpoenas,

(1) A party or an attorney responsible for the issuance and service of a subpeena shall take reasonable steps
to avoid imposing undue burden or expense on a person subject to that subpoena, The court on behalf of
which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of
this duty an appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable
attomey’s fee.

(2) (A} A person commanded to produce and permit inspection and copying of designated books,
papers, documents or tangible things, or inspection of premises need not appear in person at the place of
production or inspection unless commanded to appear for deposition, bearing or trial,

(8) Subject to paragraph (d)(2} of this rule, a person commanded to produce and permit inspection
and copying may, within 14 days after service of the subpoena or before the time specified for compliance if
such time is less than 14 days after service, serve upon the party or attomey designated in the subpoena
written objection to inspection or copying of any or all of the designated materiais or of the premises, If
objection is made, the patty serving the subpoena shal! not be entitled to inapevt and copy the tnaterials or
inspect the premises except pursuant to an order ef the court by which the subpoena was issued, If objection
has been made, the party serving the subpoena may, upon notice to the person commanded to produce,
Tove at any time for an order to compel the production, Such an order te compel production shalt protect
any person who is not a party or an olficer of a party ftom significant expense resulting from the inspection
and copying commanded.

(3) (A) On timely motion, the court by which a subpoena was issued shali quash or modify the
subpoena if it

{i} fails to allow reasonable time for compliance;

(ii) requires a person who is not a party or an officer of a party to travel to a place more than 100 miles
from the place where that person resides, is employed or regularly iansacts business in person, except that,
subject to the provisions of clause (c)(3)B)Gii) of this rule, such a person may in order te attend trial be
commanded to iavel ftom any such place within the state in which the trial is held, or

(iif) tequires disclosure of privileged or other protected matter and ne exception or waiver applies, ar

(iv) subjecis a person to undue burden.

(B} Ifa subpoena

G) requires disclosure of a trade secret or other confidential research, development, or commercial
information, or

(} requires disclosure of an unretained expert's opinion or information not describing specific events or
occurrences In dispute and resulting from the expert's study made not at the request of any party, or —

Gili} requires a person who is not a party or an officer of a party to incur substantial expense to travel more
than [00 miles to attend trial,

the court may, to protect a person subject to or affected by the subpoena, quash or modify the subpoena or,
if the party in whose behalf the subpoena is issued shows a substantial need for the testimony or material
that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
addressed will be reasonably compensated, the court may order appearance or production only upon
specified conditions.

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INSTRUCTIONS:
Definitions:

A. “Document” imcludes “things’ and is used in its customary broad sense under the
Federal Rules of Civil Procedure and includes every wriling or record of every type and
description.

B, “Communication” is uscd in its customary broad sense under the Federal Rules of
Civil Procedure and means and includes any transmission or exchange of information between
two or more persons, whether orally or in writing, including without limitation any conversation
or discussion by means of letter, note, memorandum, inter-office comespondence, telephone,
telegraph, telex, telecopies, cable communicating data processors, e-mail, or some other
electronic or other medium.

C. The term “and/or” shall be construed in both the conjunctive and disjunctive and shall
serve as a request for all information that would be responsive under a conjunctive reading in
addition to all information that would be responsive under a disjunctive reading.

D. The term “relating to” shall mean having any connection, relation, or reference to and
include, by way of example and without limitation, discussing, identifying, containing, showing,
evidencing, descnbing, reflecting, dealing with, regarding, pertaining to, analyzing, evaluating,
estimating, constituting, comprising, studying, surveying, projecting, recording, swnmarizing,
assessing, criticizing, reporting, commenting on, refering to in any way, either directly or
indirectly, or otherwise involving, in whole or in part. Documents and communications “relating
to” or that “Telate{s) to” the subject maiter specified in a Document Request includes without

limitation documents and communications underlying or supporting, or uiilized in the

preparation of, any documents or communications responsive to each Document Request.

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E. The singular includes plural, and vice versa. The masculine includes feminine and
neuter genders. The past tense includes the present tense where the clear meaning is not
distoried by change of tense.

F, To the extent that any documents will be withheld under a claim of an applicable
privilege, provide a description of cach such document withheld that includes a description of the
nature of the document withheld, the date the document was generated, all recipients of the

document, the privilege asserted and the general subject matter of the document.

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SCHEDULE A:
Please produce the following documents:

J, All correspondence, memoranda, e-mails, notes and other documents in avy manner
reflecting communications with Cytori Therapeutics, Inc. (“Cytori”) that reference LS. Pat.
6,777,231 in any way,

2. All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting communications with Cytori that reference the civil action University of Pittsburgh et
al v. Hedrick of al, 04-cv-09014 (Central District of California).

3. All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting communications hetween Dr. Mare Hedrick and Olympus Corporation.

4, All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting communications with Cytori that reference an inventorship dispute about U.S. Pat.
6,777,231,

5. All correspondence, memoranda, ¢-matis, notes and other documents in any manner
reflecting any communications with investment brokers, managers, bankers, or financial
company representatives of any type regarding U.S. Pat. 6,777,231, its technology, its
inventorship, Dr. Mare Hedrick, Cytori, an inventorship dispute about U.S. Pat. 6,777,231, or the
civil action University of Pittsburgh et al v. Hedrick et ai, 04-cy-09014 (Central District of
Califomia).

6. All correspondence, memoranda, e-mails, notes and other documents in. any manner

reflecting any communications with equity investors, analysts, securities dealers, or NASDAQ

representatives regarding U.S. Pat. 6,777,231, its technology, Cytori, an inventorship dispute

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about U.S. Pat. 6,777,231, Dr. Mare Hedrick, or the civil action University of Pittsburgh et al vy,
Hedrick et al., 04-cv-09014 (Central District of California).

7. All correspondence, memoranda, e-mails, notes and other documents in any matiner
reflecting any references in the joint venture documents between Olympus Corporation and
Cytori to U.S, Pat. 6,777,231, its technology, an inventorship dispute about U.S. Pat, O,777,241,
Dr. Mare Hedrick, or the civil action University of Pittsburgh et al v. Hedrick et a, O4-o¥-09014

(Central District of California).

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Enfitednformation Pape A@ril

NYS Department of State

Division of Corporations

Entity Information

Selected Entity Name: OLYMPUS CORPORATION

Selected Entity Status Information

Current Entity Name: OLYMPUS CORPORATION
Initial DOS Filing Date: JANUARY 18, 1990
County: SUPPFOLK
Jurisdiction: NEW YORK
Entity Type: DOMESTIC BUSINESS CORPORATION
Current Entity Status: ACTIVE

Selected Lntity Address Information

DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)

C/O OLYMPUS AMERICA INC

ATT TAX DEPT

2 CORPORATE CENTER DR

MEL VILLE, NEW YORE, 11747-3157

Chairman or Chief Executive Officer

MASAHARU OKUBO
TWO CORPORATE CENTER DRIVE
MELVILLE, NEW YORK, 1174?

Principal Executive Office

OLYMPUS CORPORATION
TWO CORPORATE CENTER DRIVE
MELVILLE, NEW YORK, 11747

Registered Agent
NONE

NOTE: New York State docs not issuc organizational identification numbers.
Search Resuits New Search

Division of Corporations, State Records and UCC Home Page NWS Department of State Home Page

hitp://appsexts.dos.stale.ny.us/corp public(CORPSEARCHLENTITY_INFORMATION%p... 4/7/2006

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Bo BR meme
oe Taam eS

Jeffrey M. Olson (SBN 104074)
Sandra 8. Fujiyama (SBN 198125)
SIDLEY AUSTIN LLF

355 West Fifth Street, Suite 4000
Los Anvetes, California 90013-1010
(213) 896-6000 phone

(213) 896-6600 fax

Attorneys for
OLYMFUS CORPORATION

UNITED STATES BISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNIVERSITY OF PITTSBURGH OF THE
COMMONWEALTH SYSTEM OF HIGHER
EDUCATION,

OBJECTIONS TO BEPOSITION
SUBPOENA IN A CEVIL CASE DIRECTED
TO OLYMPUS CORPORATION ”
Plaintiff, (Litigation pending in U.5. District Court,
Centrai District of Califormia— Case No, C'V-
04-9014 CBM (AJ Wx))

MARC H. HEDRICK etal.

Defendants. °

Mert eer” meer rl Mager Set Sn Sg eee he See Ne”

COMES NOW OLYMPUS CORPORATION, and specially appears solely to object to the
deposition subpoena that has been served upon Clympus America Inc., arising from litigation to
which it is not a party and pending in the U.S. District Court, Central District of California — Case
No. CV-04-9014 CBM (APWx) (“the underlying litigation”).

GENERAL OBJECTIONS

1. Clympus Corporation objects to the service of the subpoena which was attempted
through another entity, for which service is improper in view of the legal requirements for service
of a subpoena on a forcign entity as provided in, for example, Jazini y, Nissan Motor Co., 148 F.3d
181, 184 (2d Cir, 1998).

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Boob ROR BB BR meee ea eg ak
So AM FS NM Ee Ss ee a mw he EG Hb IF Ss

Z, Olynipus Corporation objects to the deposition subpoena in that it is directed to
matiers itelevant to the issues of the underlying litigation as presently understood by Olympus
Corporation.

3, Olympus Corporation objects to the deposition subpoena in that the discovery sought
by the subpoena resuits in an undue and unnecessary burden wherein Olympus Corporation is not a
party to the underlying litigation.

4, Olympus Corporation abjects to the deposition subpoena in that the discovery sought
by the subpoena is directed to matters that are highly confidentia? to the ongoing business activities
of Olympus Corporation and substantial harm would result from the disclosure of such information
unnecessarily.

5. Olympus Corporation objects to the deposition subpoena in that it sceks information
protected by the attorney client privilege or the work product dectrine or both.

«6. Olympus Corporation objects to the deposition subpoena in that it seeks discovery
that is ihe subject of confidentiality agreements with others who are not a party to the underlying
litigation.

7. Olympus Corporation objects to the deposition subpoena to the extent that the
discovery sought by the subpoena can be more readily and with less burden obtained from a party
to the underlying litigation, Or from another entity (e.g, Cytori Therapeutics) that has more
famibarity with the underlying litigation,

8. Olympus Corporation abjecis to the time, date and/or location for the deposition,
The subpoena seeks that a knowledgeable individual appear for a deposition in New York City,
notwithstanding the requirements of Rule 45(c)(3)(AMii} that provides that a deposition is not
permitted that “requires a person who is not a party or an officer of a party to travel to a place more
than 100 miles from the place where that person resides, is employed or regularly ttansacts business

in person.” No such person is known to exist.

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SPECIFIC OBJECTIONS

1. All communications with Cytori Therapeutics, Inc. (“Cytori”) that reference U.S.
Pat. 6,777,231 in any way.
Response:

' See General Objections, which are incorporated herein by reference.

2, All communications with Cytori that reference the civil action University of
Pittsburgh et al v. Hedrick et al., 04-cv-09014 (Central District of California). .
Response:

See General Objections, which are incorporated herein by reference.

3. All communications hefween Dr. Marc Hedrick and Olympus Corporation.
Response;

See General Objections, which are incorporated herein by reference.

4, All communications with Cytori that reference an inventorship dispute about U.S.
Pat. 6,777,231.

Response:

See Gencral Objections, which are incorporated herein by reference.

5, All communications with investtnent brokers, managers, bankers, or financial
company representatives of any type regarding U.S. Pat. 6,777,231, its technology, its inventorship,
Dr. Mare Hedrick, Cytori, an inventorship dispute about U.S. Pat. 6,777,231, or the civil action
University of Pittsburgh et al v. Hedrick et al., 04-cv-09014 (Central District of Califomia}.
Response: ,

In addition to the General Objections, which are incorporated herein by reference, Olympus
objects to this request as ambiquous in the use of the word “managers” and in the use of the words

“tts inventorship” and in the use of the words “its technology,”

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6. All communications with equity investors, analysts, securities dealers, or NASDAQ
Tepresentatives regarding U.8, Pat. 6,777,231, its technology, Cytori, an inventorship dispute about
U.S, Pat. 6,777,231, Dr. Mare Hedrick, or the civil action University of Pittsburgh et al v, Hedrick
et al., 04-cy-09014 (Central District of California).

Response:
In addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “equity investors” and in the use of the

words “its technology.”

7. All references in the joint venture documents between Cytori and Olympus
Corporation to U.S. Pat. 6,777,231, its technology, an inventorship dispute about US. Pat.
6,777,231, Dr, Mare Hedrick, or the civil action University of Pittsburgh et al v. Hedrick et at, 04-
ev-09014 (Central District of California). =
Response:

In addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “its technology.”

3. The collaboration between Cyton and Olympus Corporation,

Response:
in addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiguous in the use of the word “collaboration.”

Respectfully submitted,

SIDLEY AUSTIN LLP

Dated: February 22, 2006

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CERTERIC. OF SERVICE

I hereby certify that on February 22, 2006, I caused true and correct copies of the foregoing
OBJECTIONS TO DEPOSITION SUBPOENA IN A CIVIL CASE DIRECTED TO
OLYMPUS CORPORATION to be served by PDF and first class mail delivery to:

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‘Naney L. Gfegg

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Re eee
SoS OS tC BOO

Jeffrey M, Glson (SBN 104074)
Sandra 8. Pujiyama (SBN 198124)
SIDLEY AUSTIN LLP

355 West Fitth Street, Suite 4000
Los Angeles, California 90013-1616
(213} 896-6000 phone

(213) 896-6600 fax

Attomeys for
OLYMPUS CORPORATION

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNIVERSITY OF PITTSBURGH OF THE
COMMONWEALTH SYSTEM OF HIGHER
EDUCATION,

OHECTIONS TO SUBPOENA BUCES
TECUM IN A CIVIL CASE DIRECTED TO
OLYMPUS CGRPORATION ™
Plaintiff, (Litigation pending in U.S. District Court,
Central District of California - Case No, CY-
04-9014 CBM (AJWx))

MARC H. HEDRICK et al,

Defendants.

Mat age Meee et et ge ee te er er a he

COMES NOW OLYMPUS CORPORATION, and specially appears solely to object te the
subposna duces tecum that has been served upon Olympus America Inc., arising from litigation to
which it is not a party and pending in the U.S, District Court, Central District of California — Case
No. C¥-04-9014 CBM (AJ Wx) (“the underlying litigation’),

GENERAL OBJECTIONS

L. Olympus Corporation objects to the service of the subpoena which was attempted
through another entity, for which service is improper in view of the legal requirements for service
ofa subpoena on a foreign entity as provided in, for example, Jazini v. Nissan Motor Co., 148 F.3d
181, 184 (2d Cir. 1998).

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2. Olympus Corporation objects to cach and every document request as the discovery
Sought by the subpoena is directed to matters irrelevant to the issues of the underlying litigation as
presently understood by Olympus Corporation.

3, Olympus Corporalion objects to cach and every document request as the discovery
sought by the subpoena results in an undue and unnecessary burden wherein Olympus Corporation
is not a party to the underlying iitigation.

4, Olympus Corporation objects to each and every document request as the discovery
sought by the subpoena is directed to matters that are highly confidential to the ongoing business
activities of Olympus Corporation and substantial harm would result from the disclosure of these
documents unnecessarily,

3, Olympus Corporation objects to each and every document request to the extent it
secks information protected by the aitorney client privilege or the work product doctrine or both.

6. Ciympus Corporation objects to each and every document request to the extentthat
the discovery sought by the subpoena is the subject of confidentiality agrecments with others who
are not a party to the underiying litigation.

7. Olympus Corporation objects to. each and every document request to the extent that
the discovery sought by the subpoena can be more readily and with less burden obtained from a
party to the underlying litigation, or from another entity (e.g., Cytori Therapeutics} that has more
familiarity with the underlying litigation,

d. Olympus Corporation objects to the time, date and/or location for the production of

the documents,
SPECIFIC OBJECTIONS

i. All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting communications with Cytori Therapeutics, Inc. (“Cytori”) that reference U.S. Pat.
6,777,231 in any way.

Response:
In addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “reflecting communications,”

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2, All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting communications with Cytori that reference the civil action University of Pittsburgh et al
v, Hedrick et at., 04-cv-09014 (Central District of California).

Response:
In addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “reflecting comnaunications,”

3, All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting communications between Dr. Mate Hedrick and Clympus Corporation,
Response:

In addition to the General Objections, which are incorporated herein by reference, Olympus
objects to this request as ambiquous in the use of the words “reflecting communications.”

4, All correspondence, memoranda, e-mails, notes and other dacuments in any manner
reflecting communications with Cytori that reference an inventorship dispute about U.S, Pat.
6,777,231.

Response:
{n addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “reflecting communications.”

5, All correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting any communications with investment brokers, managers, bankers, or financial company
representatives af any type regarding U.S. Pat, 6,777,231, its technology, its inventorship, Dr. Marc
Hedrick, Cytori, an inventorship dispute about U. 8. Pat. 6,777,231, or the civil action University of
Pittsburgh ct al v. Hedrick et at., 04-cv-09014 (Central District of California},

LAL #43073y.1 4

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oo =] oy Un - ‘ot oD _ = oo og ‘a on tn ae Cand bo + oo

Response:
[n addition to the General Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “reflecting any communications” and in
the use of the word “managers” and in the use of the words “its inventorship” and in the use of the

words “its technology,”

6, Ali correspondence, memoranda, e-mails, notes and other documents in any manner
reflecting any communications with equity investors, analysts, securities dealers, er NASDAQ
representatives regarding U.S. Pat, 6,777,231, its technology, Cytori, an inventorship dispute about
U.S. Pat. 6,777,231, Dr, Mare Hedrick, or the civil action University of Pittsburgh et al v, Hedrick
ef at., 04-cv-09014 (Central District of California).

Response;

In addition to the Generai Objections, which are incorporated herein by reference, Olympus

objects to this request as ambiquous in the use of the words “reflecting any communications” and in

the use of the words “equity investors” and in the use of the words “its technology.”

7 All correspondence, memoranda, e-mails, notes and other documents in any mantter
reflecting any references in the joint venture documents between Olympus Corporation and Cytort
to U.S. Pat, 6,777,231, its technology, an inventorship dispute about U.S. Pat. 6,777,231, Dr. Mare
Hedrick, or the civil action University of Pittsburgh et al y, Hedrick et al., 04-cy-09014 (Central

District of California).

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eS OE OMS Sm a Oo CS

Response:

In addition to the General Objections, which are incorporated herein by reference, Olympus
objects to this request as ambiquous in the use of the words “reflecting any references” and in the
use of the words “its technology.”

Respectfully submitted,

SIDLEY AUSTIN LLP

Dated: February 22, 2006

OLYMPUS CORPORATION

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CERTIFICATE OF SERVICE

I hereby certify that on February 22, 2006, I caused true and correct copies of the foregoing
ORJECTIONS TO SUBPGENA DUCES TECUM IN A CIVIL CASE DIRECTED TO
OLYMPUS CORPORATION to be served by PDF and first class mail delivery ta:

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PALORS S279 1

' ' Kathryn R. Doyle, Esquire
DrinkerBiddle&Reath SSO DO

March 14, 2006
Yia E-Mail and First Class Mail

Jeffery M. Olson, Esq James B. Lewis, Esq.

SIDLEY AUSTIN LLP BINGHAM MCCUTCHEN
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Los Angeles, CA 90013-1010

Jennifer M. Phelps, Esq.
BINGHAM MCCUTCHEN
355 §. Grand Ave, 44" Floor
Les Angeles, CA 90071-3106

RE: Comirmation of 3/13 Conference Call Discussions
University of Pittsburgh v. Hedrick, 04-9014-CBM (ATW)

Dear Coungel:

I write to memorialize our discussion that we had on the telephone this afternoon.
Jay DelMaster, John Marshall, George Awad, David Kessler and J were on the call for
plaintiff and the three of you were on the phone for defendants and several third-parties.

University of Pittsburgh Discovery Requests

We agreed to conduct Mark Hedrick’s deposition on Thursday, March 23 and
Cytori Therapeutics Inc.’s (“Cytori”) / Christopher J, Calhoun's deposition’ on Friday,
March 24 in San Diego. You have agreed to produce documents for Marc Hedrick (te
the extent any exist) and Cytori in the next few days. While you did not have an
opportunity to review our subpoena of Mr. Calhoun before the conference cail, on our
representation that the subpoena’s scope was substantially similar to the Cytori subpoena,
you believed that you would be able to produce any of his documents in advance of his
deposition on March 24,

You represented that you did not plan on producing any documents from
Olympus and that you recommended that we review the documents produced by Cyton
before pushing further for Olympus documents. We agreed to wait and review Cytori‘s
documents to see if we needed additional documents from Olympus before seeking
assistance from the court based on your representation that we would have the Cytori

‘ documents in the next few days, If we believe that we need additional documents after

reviewing the Cytori documents, we will let you know as scon as reasonably possible.
Jeffery M. Olson, Esq.
James B. Lewis, Esq.
Jennifer M. Phelps, sq.
March 14, 2006

Page 2

Based upon your representation that the Cytor//Olympus Joint Venture (J'¥) has
no employees and possesses and/or controls no documents that are not in the possession
and/or control of Cytor, we agreed there was no reason to conduct a deposition or obtain
documents of the FV. Thus, we will hold the subpoena in abeyance unless its is
discovered that the J¥ possess unique documents or information.

You agreed that UC wall produce documents in the next ten days, by March 23,
and that the deposition of UC"s designec, Mr. Shih, will hopefully be in San Francisco an
March 27, Can you confirm bis availability by tomorrow?

We broached the issue of Hedrick paying our expenses for his agreed-upon
deposition for which he failed te appear. You explained that we would need to get a
Court order to obtain that money.

Defendants Discovery Requests

All of the CellSource materials that we agreed we would produce — the pleadings
aad the deposition transcripts of John Johnson and Alan Garfinkel — have been produced
to Defendants.

Pursuant to your sccond 30(b)(6) Deposition Notice, we agreed to produce Fran
Connell on March 30 and another designee to respond to non-objectionable portions of
your Deposition Notice on March 31, both in our offices in Philadelphia, We will serve
you with formal objections to your new 30{b)(6) Notice by tomorrow.

With respect to your letter dated March 10, you requested clarification regarding
U, Pitt’s responses to your Second Set of Document Requests and Interrogatories. With
respect to the document request responses, U. Pitt. does not expect to produce any
additional documents in the face of your requests except: (1} we are still atternpting to
attempt fo obtain relevant and responsive notebooks from Dr. Liull, and (2) we are
completing our search for electronic documents in the possession or control of U. Pitt.
We hope to have an answer to both of these inquiries by the end of Thursday and, to the
extent relevant, responsive, non-objectionable, non-privileged documents are found, they
will be produced to you as soon as reasonably possible thereafter. Of course, if
unexpected additional documents surface that are relevant, responsive, non-objectionable
and nat privileged, we are obligated (just as you are) to supplement our production and
wili do so.

PHLITG F577

Jeffery M. Olson, Esq.
James B. Lewis, Esq.
Jennifer M. Phelps, Esq.
March 14, 2006

Page 3

With respect to your request regarding the Defendant's Second Set of
Interrogatories, we initially stated that we did not think that the responses need
clarification and that if you disagreed, you should seek relief from Court. However, in
the spirit of cooperation, we will supplement our responses by Friday, March 17. We de
not, however, plan to dissect deposition transcripts. Rule 33 requires that we need to
specify the documents "in sufficient detail to permit the interrogating party to locate and
identify, as readily as can the party served, the records from which the answer may be
ascertained.” Given that the depositions were attended by both of us, we have equal
familiarity with them and it seems unnecessary to parse them for you. If you disagree,
please let me know.

As for expert discovery, we agreed to stick ta the Court’s schedule and that we
would schedule depositions after the reports had been served by the parties.

As for the depositions of Tohn Johnson and Marcille Pilkington, we have decided
that piven all the other ongoing discovery and the croewded schedules of all the counsef in
this case that we will forego using there testimeny at trial so their depositions will not be
necessary.

On an administrative note, it appears that there may have been some
miscommunication between the parties regarding service. To alleviate this problem in
the fioture, could you do us the courtesy of carbon copying David Kessler in our
Philadelphia Office on all correspondence and pleadings in this action regardless to
whom the letter or pleading is directed. This will cnsure that we do not have any letters
that are not reviewed ifa lawyer is temporarily absent from his or her office, Likewise, if
there is a central person, outside the primary lawyers in this action, that you want us to
copy an all correspondence and pleadings, we would be happy to provide the same
courtesy.

Please iet me know as soon as possible if you believe I have omitted anything or
inaccurately summarized our discussions,

Very uly yours,

LA Lod,

PHLATSSS27 911

DrinkerBiddle8Reath

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2005+) Fy

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Joseph BL DelMaster, Iz,
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poseph.delmasterigd broom

April 3, 2006
YIA E-MAIL AND FIRST CLASS

Jeffrey M, Olson, Esq.
SIDLEY AUSTIN LLP

555 West Sth Street

Suite 4000

Los Angeles, CA 90013-1010

RE: Discovery telephone conference
Dear Jeff:

This letter is intended as a summary of our telephone conference last Thursday
evening (March 30, 2006) in which we discussed several ongoing discovery matters and
attempted to bring resolution to at least some of them, If you disagree with any of what
follows, please let me know.

Redactions

We raised an issue (as we have in earlier correspondence) relating to redactions of
documentary material that has been produced by your client(s). When we redact material
from a document, the redaction is noted in the docwment and a reason for the reduction is
provided to you in one way or another, In a large number of lawsuits, this is the first time
Thave seen a party redact material, or produce incomplete documents, without noting the
redaction sa that the extent of the withheld material can be seen and inquiries made as to
the reason for the redaction. In our discussion, you referred to properly noting the
redaction as “make work” and declined to correct the documents, Of course we all like to
avoid useless efforts, but in ihe case of redacted mtaterial in otherwise responsive
documents it is commen practice to note the location and extent of redacted material. No
agrecment was reached on this issue and it may appear m any proposed stipulation
describing unresolved disputes,

Cytori documents

We are not convinced that Cytort properly produced documents responsive to the
subpoena, A very few documents were produced. None of them was a document
described to us it a deposition three days later as having been provided to Cytori by the
University of Califomia for Olympus’ benefit that addressed the invention technology
and ownership of the subject intellectual property. You provided a privilege log in which
certain documents that were exchanged between Cytori and Olympus prior to their
closing a stock purchase agreement were noted as privileged. We disegree with that and
you have agreed to rethink that designation, without commitment as to the outcome.
Jeffrey M. Olson, Esq. i
April 3, 2006
Page 2 of 3 }

We have agreed to provide a privilege log of materials withheld to date. It will be
forthcoming as soon as we have it complete.

Cytori-Olympus Joint Venture
Olympus, Inc.

We discussed the production of documents by the JV and Olympus in response to
the subpoenas served on both. You have refused to provide responsive documents so far
and maintain that this discovery is not going to be completed. i

We have advised that motiens fo compel responses will be filed in the appropriate
jurisdictions. You believe that the Califomia court should nile on this dispute, We
disagree and will proceed in Delaware and New York.

University of Pittsburgh documents

We believe that all responsive documents have been produced, with the exception
of Dr, Liull’s personal notes. Those, we are assured, have been shipped and we should
have them to you shortly. Any potential document sources tdentified in Frances
Connell’s deposition are being searched and if any documents are located they will be
produced.

Linda Powers

We are aware of your concern that Ms. Powers did not conduct a proper search
for documents. We are taking steps to ensure that such a search is completed in the next
week or so,

University of Pittsburgh witnesses

You expressed the feeling that UPitt has not attempted to locate persons whe can
testify with knowledge about Dr. Hedrick’s relevant activities at UPitt and who can, if
possible, corroborate the testimony and evidence provided by Drs, Katz, Llul! and Puitrell.
[ advised that due to high tumover we did not discover anyone to fit either of (hese
models, but I assured you that we would make a final check and advise you of the result,

Cytori discovery

You have expressed in your correspondence 4 reluctance to pennit discovery of
Cytori because you allege that Dr. Doyle and Dr, Newyen merely want information te
enhance the patent filings for Cagnate Therapeutics, Inc. 1 advised that nothing could be :
further from the truth. In fact, we do not seek anything about Cytori’s technology

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DrinkerBiddleSReath i

Jefitey M. Olson, Esq. , i
April 3, 2006 :
Page 3 of 3 i

developments or business enterprises, with the exception of its dealings with Olympus
and, in particular, how they were advanced by information exchanges directed io the
invention, the inventorship dispute, and ownership of the '231 patent. The subpoenas
have all been limited te that narrow category, Though you are free to make whatever
arguments you think are valid to contest discovery, that argument (that Drinker atiorneys.
are trying to steal technology information to benefit a client) is specious and nat
supported by the subpoenas themselves. We cannot agree to limit legitimate discovery
on this ground.

I have tried hard to accurately recount our discussion. As noted above, we still
have disputes about the redaction matter and documents from Cytori, the Joint Venture,
and Ohynpus. Those will likely be subjects of future action.

JRD

Cc: Kathryn W. Doyle, Esq.
John J, Marshail, Esq.
George J, Awad, Esq.
David ¥. Kessler, Esq.
Quang Nguyen, Ph,D.
James Lewis, Esq. 1
Jennifer Phelps, Esq.

PHIPOGS tS

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UNTTED STATES DISTRICT COUR?

CENTRAL DISTRICT OF CALIFORNIA

UNIVERSITY OF PITTSBURGH OF
THE COMMONWEALTI SYSTEM OF
HIGHER EDUCATION,

Plaintiff,
vs, CASE WO, GV:04-9014-CBM(AJMx)

MARC H. HEDRICS, PROSPER
BENHSIM, HERMANN PETER LORENZ,

and MIN 4g,

Defendants.

Me ee ee ee

CONFIDENTIAL
DEPOSITION OF CHRISTOPHER J. CALHOUN,
taken at 550 West C Street, Suite £050,
San Daego, California, at 9:59 a.m.,
Friday, March 24, 2006, before Elaine

Smith, CSR Ne, $421

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27

A He's o business development director at Cytori.

Ooug Arm.

A He's a vice president of product dévéelapment
engincering at Cyteri.

o Mike Schulzki.

A He was a manager in that same group. He's no
langer with us, Mo longer with the combeny that is.

QO Tom Weomura?

A He's park of the Olympus team, I don't know his
title.

oO Is his name Tom or séomething like Tomashigi?

A Mo. It's Tame semething,
o Mak Hara?

A Part of the Olympus feam.
a From Japan?

A&A ‘Yeah, Tokyo.

a Homura as well?

A Tes.

oO I haye a namé here, it's only an inithal. &.
Koyanagi.

A How do you apell it?

o K-$+Y+A-We-A-G-I is the way I have it here,

B I don't recognize that mame.

a Nobuki Fujiwara.
B

I doen't rocognize that name either.

25
1 q amiko Mato?
Z A I dan't recognize that name.
a Q Someone named kh. Koda, K-O-U-D-A.
4 A He's part of the Olympus team,
§ Q Japan?
4 BA Yeah. I assume the other guys are too, Sut trey

7 have 6a many people F dan't recognize them all,
& a Did you ever meet with anyone from Olympus

a america?

10 4A Net then.
11 Q when?
12 BA There is a menber of the board from Olympus

13 Aoerica,

ld o Thelin board er your board?

15 BA The joint venture board.

16 a Whe is it?

17 A It's -- tne last name is Watanace.

14 W-3.-T-A-N-A-B-E, I think.
19 QO It's like 6@mith in Japan, I think. I've seen

2g that name a low. Ne first nama?

21 A I don't know his firsk name.

22 a He's a member of the board -- that is 4 he?
23 A Yes.

zd Oo BK member of the Glyrpus-Cyteri jeaint venture

BS board of directors?

a4

25

ag

A Correct.

Q When did he farat appear on the scene in your
area?

A January 2006.

a All right. Ging back te the early discussions
between Glymous and MacreaPore, when did Macre?sre become
Cytori?

A June-July 2005.

@ Okay. I'll try ta remember that going through
eur dates frere, Early disayasions, Olympus and MacroPore,
you said a few minutes aga that their initial interest waa
in your biomaterials business and oroducts.

A Correct.

o Tt appeare that that has changed te a principal
Focus in the stem cell business. Is4 that accurate?

BA I would say the stem cell opportunity has
developed fastest.

a To the exclusion of pilomaterials?

AR No. We're still talking.

Q But so far there's no particular relationship
based on the biomaterials product line?

A That's right, na formal rebationshic.

G So when did the focus change in the early

discussions from biomaterials to atem cells?

A I would say during the first meeting.

30

OQ Was Dr. Hedrick in that meeting?

A No.

o Wno put stem cells on the tate?

B io did.

Q What did you tell them?

A I just gave them 4 brief overview of cur strategy

and musiness medei and a little bit abaut the technology.

The license?

A No.
a At what point did your license richts -- your,
I'm using the corporate your there -- the ticense from UC

become a subject of common tnowledge with Olympus between
the feo of you?

BA I would say as the discussion sort af progressed.

@ Prior to the March initial agreement?

A 1 would say they were aware of if, but the due
ditigance that they did was after that.

o All right. Do you recall when Dr. Hedrick may
have pad hig first meetings with the Olympus people?

I Yeah, They camé to San Diego a few weeks Later,
and I'm sure they met Or, Hedrick at that time, I
wouldn't say I'm sure. I would say I would expect they
wold have met him at that time.

Qo You're not certain?

A I'm net gertain, Eet if he wera in town and

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| ' CENTRAL DISTRICT OF CALIFORNIA
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2 UNIVERSITY OF PITTSBURGH OF Case No, C'V:04-9014-CBM (AIWx)
THE COMMONWEALTH SYSTEM . .
13, OF BIGHER EDUCATION, Stipulation and [Psepesed] Protective
. Order Governing Froduct on of
14 Plaintiff, Documents and Other Discovery
Ni 5 ¥5.
fh 1¢{ MARC H. HEDRICK, PROSPER
BENHAIM, HERMANN PETER
7 LORENZ, and MIN ZHU,
18 Defendants,
19
20 WHEREAS, plaintiff University of Pittsburgh (“Plaintiff”) has commenced
21 | the above-captioned action (the “Action”) against defendants Prosper Benhaim,
224 Mare H. Hedrick, Hermann Peter Lorenz, and Min Zhu (the Plaintiff and
23] Defendants are hereinafter collectively referred to as the “Parties”);
24 WHBREAS, the dispute concerns Umited States Patent No, 6,777,231 (“the
25 ‘231 patent’; .
26 WICEREAS, there ate seven named inventors of the “231 patent: the
274 Defendants and Adam J. Katz, Ramon Llull, and William J. Futrell (collectively, the
284 “Inventors”); = = a
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| omacerenarea, f) EANSBERS —! ee
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WHEREAS, rights in the ‘231 patent have been assigned to Plaintiff and the
Regents of the University of California (“Regents”); 5

WHEREAS, the Regents have licensed certain rights in the ‘231 patent wz
Cytori Therapeutics, Inc. (“Cytori”); \ ‘3

WHEREAS, Plaintiff has licensed certain rights in the ‘231 patent to Artecel
Inc. (“Artecel”),

WHEREAS, the Parties anticipate that discovery requests served in the
Action may require the production for inspection and copying of documents
containing, and testimony regarding proprietary business information of technical or
financial nature, which may include trade secrets;

WHEREAS, the Parties, pursuant to Rule 26 (c) of the Federal Rules of Civil
Procedure and other applicable law, believe that the entry of an Order limiting the
handling and use of confidential information will facilitate their efforts to exchange
documents and information with one another and to obtain documents and
information from third parties to the extent necessary in this Action;

WHEREAS, the Parties desire to expedite the flow of discovery material, to
facilitate the prompt resolution of disputes over confidentiality, and to ensure that
protection is afforded only to material so entitled, during proceedings in this matter;

WHEREAS, the Parties seek to ensure that such confidential information is
used only for purposes of this Action and is not otherwise used or disseminated, and

WHEREAS, the Parties intend to be bound by this Stipulated Protective
Order (the “Order”),

NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED, AND
ORDERED AS FOLLOWS: .

Ll. In the event that any documents, interrogatory answers, responses to

requests for admisston, depositions or other testimony, or other information or
materials produced or exchanged during the course of discovery or at the mal of this

Action, whether through formal or informal discovery proceedings (“DISCOVERY
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MATERIAL”), are designated as being “CONFIDENTIA ” or “ATTORNEY EYES
ONLY” in accordance with this Order, the designated material produced:shall be a
maintained in confidence and not be disclosed to any person except as provided =
herein. a

2. Material designated “CONFIDENTIAL” is non-public information ~
conceming the conception and reduction to practice of the inventions described in
the claims of the ‘231 patent, including trade secrets and cther information that could
confer a competitive advantage if publicly disclosed;

3. Material designated “ATTORNEY EYES ONLY” is other, non-public
information including trade secrets and other information that could confer a
competitive advantage if publicly disclosed. Such information includes, but is not
limited to, non-public financial reports, licenses, licensing reports, pricing
information, cost information and any relevant, non-public research information that
does nat concern the conception and reduction to practice of the inventions described
in the claims of the ‘231 patent.

4. DISCOVERY MATERIAL designated as CONFIDENTIAL or
ATTORNEY EYES ONCY in accordance with the terms of this Protective Order is
hereinafter referred to as “PROTECTED MATERIAL.”

5, Counsel for a Party or any third party producing or fumishing
DISCOVERY MATERIAL (the “Producing Party”) of any nature in connection with
this Action to a Party {a “Receiving Party”) may, except as provided in paragraph 6
delow, designate a document as CONFIDENTIAL or ATTORNEY EYES ONLY by
stamping each page of the document, or the portions of the document which are
belicved to.warrant such protection, with the words “CONFIDENTIAL” or
“ATTORNEY EYES ONLY,” as the case may be, at the time the document is |
produced, PROTECTED MATERIAL not reduced te documentary, tangible or
physical form or which cannot be conveniently designated in the manner set forth
herein shall be designated by the Producing Party by informing the Receiving Party -

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in writing.

6. Inthe event that a Producing Party requests to designate a document as
CONFIDENTIAL ot ATTORNEY EYES ONLY affer its inttial production, the =
Producing Party shall also provide a replacement copy of the document marked a
CONFIDENTIAL or ATTORNEY EYES ONLY, and the Receiving Party shall
return or destroy the corresponding unmarked document that was initially produced,
along with any copies, duplicates, or extracts thereof. However, no party shall be
held to be in violation of this Protective Order for the dissemmation of
PROTECTED MATERIAL if such material was not designated as cither
ATTORNEY EYES ONLY or CONFIDENTIAL at the time of the dissemination.

7. A Party may designate any deposition transcript or portion of any
deposition transcript as CONFIDENTIAL or ATTORNEY EYES ONLY by so
stating on the record, If the Party designates the entire transcript as
CONFIDENTIAL or ATTORNEY EYES ONLY or both, the Party shall give notice
in writing to the other Parties within fourteen (14) days of receipt of the deposition
transcript of the pages which are so designated. Pending expiration of the fourteen
(14) business days, the deposition transcript shall be treated’as ifit had been
designated “CONFIDENTIAL.” In either of the foregoing instances, the
stenographer shall be instructed to place the word(s) “CONFIDENTIAL” or
“ATTORNEY EYES ONLY,” as appropriate, on the first page or on the designated.
portions of the transcript. .

gs. All PROTECTED MATERIAL which is produced in this Action shall
be used for purposes of this Action only and for no other purpose, No person who
receives PROTECTED MATERIAL from a Producing Party, or otherwise, pursuant
to this Order shall disclose the PROTECTED MATERIAL to any other person,
except as authorized by the express terms of this order, The Parties and al] other
persons wha receive PROTECTED MATERIAL shall be under a continuing duty

not to disclose such information obtained in the course of this Action, and this duty

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shall continue in full force and effect afler the completion of this Action.

9 PROTECTED MATERIAL that is designated as CONFIDENTIAL, =
including any writing or communication reproducing, paraphrasing, or otherwise %
disclosing such information, shall not be shown or disclosed to any person by thes
Receiving Party except to the following persons:

(a) The outside attorneys of record for the Parties, including the.

partners, associates, and stenographic, secretarial, paralegal, clerical and other

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employees of such attorneys;
(b) The Inventors;
_{c} Alan A, Garfinkel, Francis Connell, and Mark Melandro of the
University of Pittsburgh; Ken Mosely and Linda Powers of Artecel; Martin
Simpson, Patricia Cotton, John Shih, Bernadette McCafferty and Kathryn Atchison

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of the Regents, Richa Nand and Jon Soneff of Macropere, and any similarly-situated

persons agreed fo in a writing signed by each of the Parties’ outside counsel;

p.

(dq) Independent consultants or expert witnesses (“Independent

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Experts”) retained by such Party, including the partners, associates, and

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stenographic, secretarial, paralegal, clerical and other employees of such
Independent Experts, Before disclosing any materials marked CONFIDENTIAL to

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an Independent Expert, counse) shall provide to the other Parties a copy of a resume

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or curriculum vitae describing in detail: (1} the Independent Expert’s employment

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history; and (2) every consulting relationship in which the Independent Expert is

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currently engaged or has been engaged in the past four years. The notified Parties

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shall have ten (10) business days from receipt of the notice to deliver to the

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notifying party written objections, if any, setting forth in detail the reasons therefor,
Upon timely objection, disclosure, of materials marked CONFIDENTIAL to the
Independent Expert shall net be made, subject te a successful motion for relief

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brought by the Party seeking disclosure. Absent timely objection, the Independent

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28 | Expert shall be deemed approved.

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(e) Any person who prepared or originated the document, or who is
indicated on its face as 2 recipient of a copy thereof: &

(f) The Court and related officials involved in this Action, including
judges, magistrates, commissioners, referees, jurors, and other Court personnel; ei
provided, however, that any materia! designated CONFIDENTIAL and filed with
Court is served and filed in accordance with the procedures for the service and filing
of such material contained in this Order.

(g) Any person designated by the Court in the interest of justice,
upon such terms as the Court deems proper,

10. Prior to disclosing CONFIDENTIAL material to any person listed in
paragraphs 9(b}, 9fc), 9(d) 9{e) aitd 9(g} above, the Receiving Party shall provide
such person with a copy of this Order and obtain from such person a signed copy of
the Certificate of Compliance With Protective Order (“Certificate”) in the form
attached hereto as Exhibit “A.” Such statement shali be retained by the Receiving

Party and need not be filed with the Court or served upon opposing counsel unless

required by the Court.

ll. PROTECTED MATERIAL that is designated as ATTORNEY EYES
ONLY, including any writing or communication reproducing, paraphrasing, or
otherwise disclosing such information, shal! not be shown or disclosed by the
Receiving Party except to the following persons:

(a) The outside attorneys of record for the Parties, including the
partners, associates, and stenographic, secretarial, paralegal, clerical and other
employees of such attorneys;

(b) Alan A. Garfinkel of the University of Pittsburgh and Martin
Simpson of the Regents;

(c) Independent Experts retained by such Party, including the
partners, associates, and stenographic, secretarial, paralegal, clertcal and other

employees of such Independent Experts. Before disclosing any materials marked

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CONFIDENTIAL to an Independent Expert, counsel shall provide to the other
Parties a copy of a resume or curriculum vitae describing in detail: (1) the is
Independent Expert’s employment history, and (2) every consulting relationship in
which the Independent Expert is currently engaged or has been engaged in the past
four years. The notified Parties shall have ten (10) business days from receipt of the

notice to deliver to the notifying party written objections, if any, setting forth in
detail the reasons therefor. Upon timely objection, disclosure of materials marked
CONFIDENTIAL to the Independent Expert shall not be made, subject to a
successful motion for relief brought by the Party seeking disclosure. Absent timely
objection, the Independent Expert shall be deemed approved.

(¢) Any person who prepared or originated the document, or who is
indicated on its face as a recipient of a copy thereof;

(c} The Court and related officials involved in this Action, including
judges, magistrates, commissioners, referees, jurors, and other Court personnel:
provided, however, that any material designated ATTORNEY EYES ONLY and
filed with the Court is served and filed in accordance with the procedures for the
service and filing of such-material contained in this Order; and

(f} Any person designated by the Court in the interest of justice,
upon such terms as the Court deems proper.

12. Prior to disclosing ATTORNEY EYES ONLY material to any person
listed in paragraphs 11(b), 11(c), 11(d) and 11¢4 above, the Receiving Party shall
provide such person with a copy of this Order and obtain from such person a signed
capy of the Certificate in the form attached hereto. Such statement shall be retained
by the Receiving Party and need not be filed with the Court or served upon opposing
counsel unless required by the Court.

13. _Ifcounsel for a Receiving Party m good faith objects to the designation
by the Producing Party of PROTECTED MATERIAL as ATTORNEY EYES
ONLY or CONFIDENTIAL, counsel for the Receiving Party must state the

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objection in writing and provide such written objection to thé Producing Party as
soon after the Receiving Party believes there is a good-faith basis for such objection,
but in any event not later than thirty (30) days before the deadline to file discovery:
motions. Ifno written notice of objection is received within this period, the . 8
Receiving Party shali be deemed to have waived any right to object to the
designation The notice of objection shall identify the PROTECTED MATERIAL
subject to the objection, set forth the reasons and bases for the objection, and if
applicable identify the person to whom the Receiving Party wants to disclose the
PROTECTED MATERIAL, If timely written notice of objection is provided, the
Parties shall, within seven (7) days, meet and confer in good faith in an attempt to
informaliy resolve the dispute over the designation, If they are unable to resolve the
disagreement, the Producing Party shall move the Court for a protective order to
maintain the designation of the PROTECTED MATERIAL, and shall bear the
burden of proving good cause for the designation.

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eg sl Pe eel fe In addition, separate versions of those
documents, captioned “PUBLIC REDACTED VERSION,” shall be filed
concurrently in the Court’s public files. In the PUBLIC REDACTED VERSION of
the filed records, PROTECTED MATERIALS shall he replaced with a sheet or
sheets stating words to the effect that the PROTECTED MATERIALS were nat
included pursuant to this Order, [In addition, in the PUBLIC REDACTED
VERSION of the filed records, references to PROTECTED MATERIALS shali be
redacted, and each such redacted page shall be stamped “REDACTED.”

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1 15. Should any PROTECTED MATERIAL be disclosed, through
inadvertence or otherwise, by the Receiving Party to any person not authorized wider
this Order, the Receiving Party shall: =

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4 {a} Within two (2) business days of the discovery of such disclosure,
§ 7 inform the recipient of such PROTECTED MATERIAL of al! provisions of this

64 Order and use its best efforts to obtain the return of such PROTECTED

7 MATERIAL and to have such person sign the Certificate attached to this Order.

8} The executed Certificate shall be served upon counsel of record for the Producing

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Party within five (5) days of its reccipt by the Receiving Party; and

id (b) Within two (2) days of the discovery of such disclosure, provide
11] a written explanation to the Producing Party describing the PROTECTED
12| MATERIAL that was disclosed, explaining the reason for the disclosure, and
13 | identifying the person to whom it was disclosed.
14 16. The restrictions set forth in this Order shall net apply to any document
15 | or other information that was properly in the public domain or was acquired in good
16 | faith from a third party. In the event a Party claims that one or more documents was
17 | improperly put in the public domain, the Party shall seek to resolve the issue
18 | informally through negotiation. If that does not resolve the issue, a Party may move
19 | the Court for an Order directing that said document(s) is/are subject to this Order.
30 | Nothing herein shail prevent any of the Parties from disclosing or using any of their
91 { awn PROTECTED MATERIAL as they deem appropriate.
39 17, Any Party who has designated any material as ATTORNEY EYES
33 | ONLY or CONFIDENTIAL pursuant to this Order may consent to the removal of
24 | such designation by so notifying counsel for the other Party in writing.

25 18. Nothing in this Order shall be construed to preclude or to constitute a
26 | waiver of any Party’s right: (a) to oppose discovery on any ground; (b) to object on

37 1 any ground to the admission into evidence of any document, testimony, evidence, or

23 j other information at the trial of this Action; or (c) to seek an order from the Court

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that any portion of a hearing or trial proceeding be closed to the public for the
purpose of taking testimony with respect to information designated as PROTECTED

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MATERIAL. Nothing herein shall affect, impact or change in any way the . 3
protections afforded by any applicable privilege, including, but not limited to, ther
attorney-client privilege and work product protection or their inadvertent disclosure.

19, This Stipulation shal] be, subject to the Court’s approval, binding upon
all of the Parties upon their signature hereta, and by signing hereto each Party agrees
to comply with the terms of this Stipwlation and to be bound thereby. In the event
that the Court does not enter into the Proposed Protective Order based upon this
Stipulation, the Parties shall in good faith negotiate the terms which the Court finds
objectionable,

20. Any additional Party who joins or is joined in this Action shall have
access to PROTECTED MATERIAL in accordance with the provisions of this Order
upon its counsel’s executing and filing with the Court a dectaration in which the
Party and its counsel agree to be fully bound by this Order.

21, ~ Within thirty (30) days after the termination of this Action, including
any appeals, or at such other time as the Parties agree, each Party shall return or
destroy all documents containing or reflecting PROTECTED MATERIAL,
including, but not limited to, originals, copies, and excerpts of PROTECTED
MATERIAL. Each Party shali serve on all other Parties a signed letter confirming
that it complied with this provision of the Protective Order by returning or destroying
all PROTECTED MATERIAL received from other Parties. Notwithstanding the
foregoing, counsel for each Party may retain their work product, such as pleadings,
correspondence, and memoranda which contain or reflect PROTECTED

| MATERIAL, provided that all such information shall remain subject to this Order

and shall not be disclosed to any person except as provided by this Order.

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22. This Order shall not prejudice a Party’s right to seek to amend, modify,
or change the terms of Order by written agreement between the Parties (and relevant
third parties, to the extent that their interests are affected), or by Order of the Cou.

23. Inthe event that a Party or entity who has received PROTECTED.
MATERIAL in connection with this Action is (a) subpoenaed i in another action, (b)
served with a demand in another action to which he, she or it is a party, or (c) served
with any other legal process by one whe is not a Party to this Action, and the |
subpoena, demand, or other legal process calls for the production of PROTECTED
MATERIAL, the Receiving Party shall, within at least forty-eight (48) hours of
receiving said subpoena, demand, or legal process (or sooner if the time for
responding is less than forty-eight (48) hours), provide the Producing Party by email
or facsimile transmission with written notice and a copy of said subpoena, demand,
or legal process in order to allow the Producing Party to quash or modify said
subpoena, demand, or legal process,

24. ° The Parties agree that a violation or threatened violation of these terms
shall constitute irreparable harm and qualify as valid grounds for seeking injunctive
relief to prevent said violation,

25. This Order governs the use and handling of PROTECTED
MATERIALS prior to trial, Before trial, the Parties shall meet and confer to discuss
the procedures to be used at trial to maintain the confidentiality of PROTECTED
MATERIALS i in a manner consistent with the Court’s Rules and procedures,

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UNITED STATES DISTRICT JUDGE

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IT IS SOSTIPULATED.

DATED: November 27 , 2005

DATED: November 271, 2005

DATED: November __, 2005

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PASTORIS

University of Pittsburgh

BINGHAM McCUTCHEN

By:

James B. Lewis

Thomas E, Kuhnle
Malcolm MeGowan
Jennifer M. Phelps
Attorneys for Defendants

SIDLEY AUSTIN BROWN & WOOD

By:

a a oe ee ee eee se LS

Jeffrey M. Olson
Sandra 8. Fujiyama
Attomeys for Defendant
Marc H. Herick

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By:

John I. Marshall

Amor A. Esteban
Suzanne V. Stouder
Attorneys for Plaintiff
University of Pittsburgh

BINGHAM McCUTCHEN

James B. Lewis .
Thomds E. Kuhnle
Maicolm McGowan
Jennifer M. Phelps
‘Attorneys for Defendants

By:

SIDLEY AUSTIN BROWN & WOOD

By:
Jeffrey M. Olson
Sandra §. Fujiyama

Attorneys for Defendant
Mare H. Herick

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! , | DATED: November ___, 2005 DRINKER BIDDLE & REATHLLP &
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5 By:
l John J. Marshall
é Amor A. Esteban
Suzanne ¥, Stouder
3 Attorneys for Plaintiff .
University of Pittsburgh
g
9 DATED: November 21, 2005 BINGHAM McCUTCHEN
10
I By:
James B, Lewis
12 Thomas E, Kuhnle
Malcolm MeGowan
13 Jennifer M. Phelps
Attorneys for Defendants
14
jg | DATED: November “4 , 2005 SIDLEY AUSTIN BROWN & WOOD
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17 By: fence uf Bpypn.
_ Jeffrey M. Olson® ¢?
1g '. Sandra 8. Fujiyama
Attorneys for Defendant
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The Honorable Consuelo 8, Marshall
Chief District Judge’

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EXHIBIT “A”
CERTIFICATE OF COMPLIANCE WITH PROTECTIVE ORDER a

The undersigned declares as follows: 3

—

Thereby acknowledge that I have been provided with a copy of the Stipulation
and Order Governing Production of Other Discovery of ATTORNEY EYES ONLY
Information (the “Protective Order’) in the action captioned University of
Pitisburgh, etc. v. Mare H. Hedrick, et ai., United States District Court (Central
District), Case No, C¥-04-9014-CBM (AJWx).

] agree to abide by the Protective Order and not to reveal or otherwise

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communicate to anyone or utilize any of the information designated “ATTORNEY
EYES ONLY” or “CONFIDENTIAL” that is disclosed to me except in accordance
with the terms of such Order. I acknowledge that any violation of the Protective

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bo eS

Order may be punishable as to contempt of court through monetary sanctions

—
had

ordered by the Court , or both, and I further agree to submit to the jurisdiction of the
United States District Court (Central District) for all matters relative to such Order.

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DATED:

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(Signature)

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(Printed Name)
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(Address)

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LAW OFFICES 4
PANKER tome 9 FAR OSSSY

HEATH LLP
Los Angeley PAIS? 183319,

Ladders 40475 yo

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pase 204 Veldso CPAP Bodditet 34° Het tagy/2005 “Page A OF 18

l PROOF OF SERVICE
2 1am over 18 years of age, not a party to this action and employed in {i
3 [ the County of Las Angeles, CA at 355 South Grand Avenue, Suite 4400, Los . <,
4 | Angeles, CA 90071-3106, [am readily familiar with the practice of this office for”
5 | callection and processing of correspondence for mailing with the United States
6 | Postal Service and correspondence 1s deposited with the United States Postal :
7 | Service that same day in the ordinary course of business.
8 Today I served the attached:
9 STIPULATION AND FR OP OSED] PROTECTIVE
ORDER GOVERNING PRODUCTION OF
10 DOCUMENTS AND OTHER DISCOVERY
11 | by causing a érue and correct copy of the above to be placed in the United States
| 12 | Mail at Los Angeles, CA in sealed envelope(s) with postage prepaid, addressed as
13 | follows:
l4 Amor A. Esteban, Esq. Jeffrey M. Olson, Esq,
Drinker Biddle & Reath LLP. Sidley Austin Brown & Wood LLP
5 333 South Grand Avenue, Suite 1700 555 West 5"" Street, 40" Floor
Los Angeles, CA 90071-1504 Los Angeles CA 90013
16 Phone: 213-353-2300 Phone: 213-896-604 |
Fax: 213-253-2301 Fax: 213-896-6600
I? Attorneys for Plaintiff Attorn os for Defendant Marc H.
Hedric
18
19 I declare that J am employed in the office of a member of the bar of
20) | this court at whose direction the service was made and that this declaration was
21 | executed on December 1, 2005,
22
23
4 af J. illips
25
26
27
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San Franciace, California

Monday, March 27, 2006

9:59 a.m. = 5:31 p.m,

BY WR. DELMASTER:
Q If ++ I'm golng to say what I've heard -- the

way I'ye heard your name pronounced, Mr, Shih? Shih?

A = 6Shih.,

© shih?

A Yes,

Q Thank you,

I™m Joseph Delmaster, YI represent the
University of Pittsburgh in this litigation.

Now, tha first thing I'm geing te ask you is,
have you ever done this before, had a deposition taken?

BR Yea, T have,

GQ @Oxay. Then I']1 akip tha long-winded
lastructions and just conflem that you understand that
the testimony that you'ra giving today =-- you've just
heen syorn obyfously to be truthful -- can bé used in a
trial of this case 1f it comes to that, De you
understand that?

A Yes, I da.

@ Now, when I say thia case, are you familiar with
the Litigation, at laast the general subject matter of
the litigation between the University ef Pittaburgh and

the persons who are named as the inventor on what we

called the ‘231 patent?

Q Dealings with Mac report bin surgery connected
with the '231 patent?

A Yas.

QO And also Cytori Therapeutics?

A Yes.

QO Do you mow who Marc Hedrick ist

A Yes, I do.

Qo Did you have pérsgnal dealings with Mr. Hadrick?

AR ©60What do you mean by personal,

Q SBelating to the '231 patent or related invention
disclosures to the undveraity and their processing?

A Yas.

Q@ Can you speak for the university regarding the
technalogy transfer and licensing activity about the '?21
patent t

A Yes,

o Oo you have any knowledge about an investment in
Cytard bic Olympus corporation and any diligence
chorcigas that Olympus may have done that inyvelyed the
university? In other words, ingulries from the Olympus
about the inventorship of tha'?31 patent or any of
the --

A I am aware of Olympus's interest in this patent.
I cannek aneak for Olympus in terms of what diligence

they have parfornmed on the subject matter.

1g

Q@ Okay. Dic -- do you know whether or not the
university was contacted by Olympus te make any inquiries
about the invention disclosura, thea carrest inventorship
designation, or anything else related to the '231 patent
or the intellectual proparty of Cytori?

a Y am aware that Olympus did inquire and had
questions concerning the intellectual properties held by
Macropore. I do not have personal knowledge or any
knowledge regarding their inquiries eoncerning
inventorship.

@ But they did make acme inguixy, you did know
that?

A&A They made ganeral inquiries to Macropore,
Cytori,

Qa Okay. Well, while that's in your mind, de you
knew whe fielded those inquiries?

B Wo, I do not.

2 Do you know 4f they were written?

A Wa, I do net,

0? How do you know about inquiries From Olympus?

i

From Hacroporet

g From Macropore,

A Yes.

Q Let mé see if I got this straight. You're aware

from Macropere that Olympus made some inquiry of the

il

university about the subject matter of thea'?31 patent
and/or -- and/or Cytori intellectual property?

A You put it in an interesting way. Perhaps I can
Clarify that point.

4 Please do,

A I understood Olympus inquired, mada a nwnher of
inguiries and their conversations were with Macropore,
Macropore conitunicated Olympus's interest to the Office
ef Technolegy Transfer. So the inquiry from Olympus was
indirect.

Q Iosee. Ware you tha Office of Technology
Transfer at that time?

A I was the licensing officer manage this case for
the Office of Technology Transfer,

Q Were you asked to respond to Macropore?

A Ho one actually asked me to respond te
Macropore. It was my responsibility to address any
concerns that Macropore may have raised.

0 Okay. Oo you recall tha inquiry, the apecific
Hature? What did they want te know?

MR. GEWIS: Objection; vague.

THE WITNESS: What did they want to know? The one
isgue that I reacail was, one, te verify that Macropore
wad in fact our licensee, and two, to verify that they

Were Licensees in good standing.

12

Q Verify to whom?

& ina note to Macroepore,

Q@ Did you understand that that information was to
he passed on ta Olympua?

A Yas,

2 Do you recall at least to the best of your
recollection when this occurred?

A Within the four years. Ne move specific than
that, no.

g Was it a singular inquiry or was it -- ddd it
evolve aver time and become a continuing subject?

R There could have been more than one
correspondence on the subject matter, but I recall it as
a single event.

Q We'll see if it falls aut of all the paper that
we have here,

A second subpesna was gerved on the university
far documents related to the invention that's the subject
matter of this litigation and to any disclosures made by
the inventora and any cownunicationa with the invantors.
Rather than go down the list of documents, were you asked
to participates in a document search preparatory to this
deposition?

A I was asked to participate in a part of the

document search in proparation fox this deposition.

i3

A 6A one paint I would have said yes, but it is
much leas clear now. Different branches of government
have different ideas aa to what is Proper for them te de
with thia technoloay.

@ Get me ask you, if the claims af the '271
patent -~ this is a hypethetical, but if the claims of
the '231 patent were determined to ba solely the property
of the University of Pittsburgh --

a = Ma-rmm.

o -~ does that have an impact on University of
California's expectations under it's ligenge agraement to
Stemgourcat

A NG. Wo ware clear with StemSourca that
inventership and ownergnip of the patent and claims are
not yat defined. So they've bean put on notica that that
can happen,

Q How about from a revenue standpoint? For
instance, would you be concernad that StemSourne -- wa
should call them by theix current name cytori,

Would you be concerned that Cyteri cauld not
commercialize the stem call tisene re general tiff
therapy that they have in mind 4f the '2591 patent was in
other hands?

& No. Than somebody else is qoing to

conmerclalize that, and that's fine with ua,

157

mo

24

ao

@ Would you be concerned that for instance
Oniversity of Pittsburgh would enferce the '231 Patent
against StemSourcea to try to prevent it from
commercializing the technoloqy?

A Go ahead. I got no problem with that.

@ That doagn't bother the university?

&R No.

@ dn theory, the licensed revenwes and whatever to
come later would be at least temporarily cut off7

A Wo, not at all. The revenues that we ganerate
from technologies such as these is naxt to nathing
comparad te the overall portfolic,

Q Meaning the antira university portfolie?

&R Just WC op. dust the main offiee. And it
won't even make a dent. so it's neally not a concern,

@ We talked a leng time ago thia morning abour
Olympus and ita investment in Cytori?

A Yes,

® Bid UC have any role to play ar any say in the
matter?

A Mo. Aside fxom affirming that Cytori is our
licensea and they're in good standing, no.

Q Were you contacted individually by Olympus or
its representatives?

AR Individyally, no.

14

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25

Q In your officiai capacity?

A In my official capacity, no.

@ Was the confirmation about ewnexship or the
license agreement, whatever it Was that was transmitted
to Glympus done by somebody else?

A What information Olympus received concarning the
license patent went from Cytori te Glytpus, not From the
Main office, not from OTT to Glympus. If wo send
anything at all, we normally just send a one-page Letter
eonfirning that CytorL de aur Licensee, and that really
ia a letter we sent to Cytori, not to Olympus.

Q Let me get thia stxyaight. I've been involved in
dasues like this oefore. Ia it the cage that Cytord
Wald send a request toe the univeargity to have a
confirming letter sent te them?

A That Is correct.

@ And then they could pags that detter on to
atners?

A oOThat is corract,

Q Ia it your belief then thera was no direct
contact between tho university at Olympus?

R There was contact between the University and
Olympus, not through the Office of Technology Transfer.

O fhere?

& Tounderstand that flrstiy, Mare as a faculty

1543

member, secondly, I understood that he took Glympus -
representatives around carpus, harassing people for data,
And I found out about it when some People contacted me
because they felt harassed.

@ Looking for what kind of data?
Data relating to fat derived stem cells,
450 people involved in the reasearch project?

People involved in some research Projects, yes,

Oo oo» Gm om

DO you know whe the people were whe complained
about being naragged as you put it?

A One of my other inventors,

@ Whe te that?

A Is it -- I guess it 4s in the public domain at
leagt on Websitee, who thesa people are,

MR. DELMASTER: 2 can't imagine that it's privileged
in any way.

MR, LEWIS; ould you mind if I confer on the
privilege iasue,

MR. DSLMASTHR: Go ahead. Sure,

THE WITHESS: Just to be sure,

(Recess taken: 6:22 until 5 23

A $0 in anéwer te your question the faculty member
that communicated te me that she wea harassed by Mare
Hedrick and a bunch of Olympus people her name waa

larrisa Redriguaz,

L6G

CERTIFICATE OF SERVICE RY ELECTRONIC MAIL

On April 12, 2006, I served on interested parties in said action the within:

PLAINTIFF’S NOTICE OF MOTION AND MOTION TO COMPEL
RESPONSES TO ITS SUBPOENA DUCES TECUM ON THIRD-PARTIES
OLYMPUS CORPORATION AND
OLYMPUS AMERICA INC.

by transmitting a true copy of said document by electronic mail and by United States
First Class Mail as stated on the attached service list,

Executed on April 12, 2006, at Philadelphia, PA.

I declare under penalty of perjury under the laws of the State of Pennsylvania that
the foregoing is true and correct,

David J, Kessler 7

(Type or print name) LE. (Signature)

SERVICE LIST

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Olympus-Cytori, Inc.

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